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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


  GOLO, LLC,

                        Plaintiff,

                 v.                                      C.A. No. 20-667-RGA
  Goli Nutrition Inc., a Canadian Corporation,
                                                         JURY TRIAL DEMANDED
  Goli Nutrition Inc., a Delaware Corporation and
  Michael Bitensky,

                        Defendants.

  Goli Nutrition Inc., a Canadian Corporation and
  Goli Nutrition Inc., a Delaware Corporation,

                        Counter-Plaintiffs,

                 v.

  GOLO, LLC and Christopher Lundin,

                        Counter-Claim Defendants.


   DEFENDANTS GOLI NUTRITION INC., A CANADIAN CORPORATION, GOLI
  NUTRITION INC., A DELAWARE CORPORATION, AND MICHAEL BITENSKY’S
   ANSWER TO FIRST AMENDED COMPLAINT, AFFIRMATIVE DFENSES, AND
                          COUNTER-CLAIMS

        1.      Defendants Goli Nutrition Inc., a Canadian Corporation (“Goli Canada”), Goli

 Nutrition Inc., a Delaware Corp. (“Goli US,” and together with Goli Canada, “Goli Nutrition”),

 and Michael Bitensky (together with Goli Nutrition, “Defendants”), through their undersigned

 counsel, hereby answer and assert affirmative defenses to the Complaint of GOLO, LLC (“GOLO”

 or “Plaintiff”) dated Dec. 20, 2021 (D.I. 124) (the “FAC”). Defendants’ answers and affirmative

 defenses are based on information and knowledge thus far secured by Defendants, and Defendants

 reserve the right to amend to supplement their answers or affirmative defenses based on facts later
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 discovered, pleaded, or offered. To the extent that any express or implied allegations in the

 Complaint are not specifically admitted herein, Defendants hereby deny such allegations.

                                          Nature of Action1

        2.      Defendants deny the claims set out in Paragraph 2 of the FAC concerning the

 efficacy and reliability of GOLO’s products, including that GOLO “offers a total weight loss and

 wellness solution, which includes a unique and proprietary plan to help its customers make healthy

 lifestyle changes to allow them to lose weight and a patented dietary supplement that has been

 clinically shown to increase weight loss, reduce hunger and cravings and suppress the appetite,

 reduce stress and anxiety, increase immune function, and increase energy” and that “the GOLO

 plan and dietary supplement have been shown to reduce health risk factors, including by lowering

 blood sugar levels, blood pressure, cholesterol, triglycerides, and visceral fat, and by significantly

 reducing a person’s body mass index.” Defendants otherwise lack sufficient knowledge or

 information to form a belief as to the allegations set forth in Paragraph 2 of the FAC, and therefore

 deny those allegations.

        3.      Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 3 of the FAC, and therefore deny those allegations.

        4.      Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 4 of the FAC, and therefore deny those allegations, although

 Defendants generally agree that consumers are vulnerable to companies like GOLO that offer

 products that promise easy and quick routes to weight loss and make other statements that mislead

 consumers about their products and services.




 1
  The headings from GOLO’s FAC are reproduced here for ease of reference, and Defendants do
 not admit to any statement contained therein.
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        5.      Defendants admit that Goli Nutrition entered the U.S. market in 2019, that Mr.

 Bitensky helped to launch the company, and that Goli Nutrition sells its products in connection

 with its GOLI NUTRITION mark and its federally registered GOLI mark. Except as so admitted,

 Defendants deny the remainder of the allegations set forth in Paragraph 5 of the FAC.

        6.      Defendants admit that Goli Nutrition has marketed its Apple Cider Vinegar

 (“ACV”) Gummies through multiple channels. Except as so admitted, Defendants deny the

 remainder of the allegations set forth in Paragraph 6 of the FAC.

        7.      Defendants admit that a third party filed a complaint with the National Advertising

 Division, and state that the filings in that proceeding speak for themselves. Except as so admitted,

 Defendants deny the remainder of the allegations set forth in Paragraph 7 of the FAC.

        8.      Defendants admit that Goli Nutrition offers an Ashwagandha (“Ashwa”) Gummy

 product for sale that was launched in or about January 2021, and that Ashwagandha is an adaptogen

 that is used, in part, for stress. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 8 of the FAC.

        9.      Defendants admit that Goli Nutrition offers a “Superfruits Gummy” product for

 sale that was launched in or about May 2021. Except as so admitted, Defendants deny the

 remainder of the allegations set forth in Paragraph 9 of the FAC.

        10.     Defendants admit that Goli Nutrition offers a “Supergreens Gummy” product for

 sale that was launched in or about September 2021. Except as so admitted, Defendants deny the

 remainder of the allegations set forth in Paragraph 10 of the FAC.

        11.     Defendants admit that Goli Nutrition offers a “Multi Bites” product and a “Calm

 Bites” product for sale that were launched in or about November 2021. Except as so admitted,

 Defendants deny the remainder of the allegations set forth in Paragraph 11 of the FAC.



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        12.     Denied.

        13.     Denied.

        14.     Denied.

        15.     Denied.

        16.     Denied.

        17.     Denied.

        18.     Paragraph 18 of the FAC contains legal conclusions to which no response is

 required. To the extent a response is required, Defendants admit that the FAC purports to assert

 claims for trademark infringement, unfair competition, false advertising, and cancellation of a

 registered trademark, but deny that the allegations underlying those claims have any merit.

        A.      The Parties

        19.     Admitted.

        20.     Admitted.

        21.     Defendants admit that Goli Canada has a registered office at 8430-240 Santa

 Monica Boulevard, West Hollywood, California 90069 and that Goli Canada does business in the

 United States. Except as so admitted, Defendants deny the reminder of the allegations set forth in

 Paragraph 21 of the FAC.

        22.     Admitted.

        23.     Defendants admit that Goli US does business in the United States, including in

 Delaware. Except as so admitted, Defendants deny the remainder of the allegations set forth in

 Paragraph 23 of the FAC.

        24.     Defendants admit that Mr. Bitensky is the President and co-founder of Goli

 Nutrition and admit that Mr. Bitensky is a citizen of Canada. Except as so admitted, Defendants

 deny the remainder of the allegations set forth in Paragraph 24 of the FAC.
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        25.     Paragraph 25 of the FAC asserts legal conclusions to which no response is required.

 To the extent a response is required, Defendants deny the allegations set forth in Paragraph 25 of

 the FAC.

        B.      Jurisdiction and Venue

        26.     Paragraph 26 of the FAC asserts legal conclusions to which no response is required.

        27.     Defendants admit that this Court has personal jurisdiction over Defendants. Except

 as so admitted, Defendants deny the remainder of the allegations set forth in Paragraph 27 of the

 FAC.

        28.     Defendants admit that this Court has personal jurisdiction over Defendants.

 Paragraph 28 of the FAC otherwise asserts legal conclusions to which no response is required. To

 the extent a response is required, Defendants deny the allegations set forth in Paragraph 28 of the

 FAC.

        29.     Defendants admit that this Court has personal jurisdiction over Defendants.

 Paragraph 29 of the FAC otherwise asserts legal conclusions to which no response is required. To

 the extent a response is required, Defendants deny the allegations set forth in Paragraph 29 of the

 FAC.

        C.      The Wellness, Weight Management, and Dietary Supplement Industry

        30.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 30 of the Complaint, and therefore deny those allegations.

        31.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 31 of the Complaint, and therefore deny those allegations.

        D.      GOLO – Its Philosophy, Products, and Marks

        32.     Defendants deny the claims set out in Paragraph 32 of the FAC concerning the

 efficacy and reliability of GOLO’s products, including that GOLO “provide[s] individuals with a

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 natural and effective way to combat obesity and achieve sustainable weight loss and overall better

 health.” Defendants otherwise lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 32 of the Complaint, and therefore deny those allegations.

        33.     Defendants deny the claims set out in Paragraph 33 of the FAC concerning the

 efficacy and reliability of GOLO’s products, including that the “GOLO Plan” “supports weight

 loss, reduces hunger and cravings, reduces stress and anxiety, increases immune function, and

 increases energy” and that “[e]ach part of the GOLO Plan, including its Release dietary

 supplement, has been clinically tested and proven to promote weight loss and provide

 improvements in health markers.” Defendants otherwise lack sufficient knowledge or information

 to form a belief as to the allegations set forth in Paragraph 33 of the Complaint, and therefore deny

 those allegations.

        34.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 34 of the FAC, and therefore deny those allegations.

        35.     Denied.

        36.     Denied.

        37.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 37 of the FAC, and therefore deny those allegations.

        38.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 38 of the FAC, and therefore deny those allegations.

        39.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 39 of the FAC, and therefore deny those allegations.

        40.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 40 of the FAC, and therefore deny those allegations.



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        41.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 41 of the FAC, and therefore deny those allegations.

        42.     Denied.

        43.     Defendants state that Exhibit A to the FAC speaks for itself, and otherwise deny

 the allegations set forth in Paragraph 43 of the FAC.

        44.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 44 of the FAC, and therefore deny those allegations.

        45.     Denied.

        46.     Defendants state that Exhibit B to the FAC speaks for itself, and otherwise deny

 the allegations set forth in Paragraph 46 of the FAC.

        47.     Defendants admit that GOLO has filed oppositions to trademark applications filed

 by certain of the Defendants. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 47 of the FAC.

        48.     Defendants deny the claims set out in Paragraph 48 of the FAC concerning the

 efficacy and reliability of GOLO’s products, including that GOLO’s products “provide the

 marketed benefits.” Defendants otherwise lack sufficient knowledge or information to form a

 belief as to the allegations set forth in Paragraph 48 of the FAC, and therefore deny those

 allegations.

        49.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 49 of the FAC, and therefore deny those allegations.

        E.    Defendants Launch Goli’s Products, Which Compete with GOLO’s
        Proprietary Weights Loss and Wellness Products

        50.     Defendants admit that Goli Nutrition was founded in 2019, that Mr. Bitensky is one

 of its co-founders, and that today Mr. Bitensky is the President and Chief Executive Officer.


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 Defendants further state that the webpages from the domain https://goli.com cited in Paragraph 50

 of the FAC speak for themselves. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 50 of the FAC.

        51.     Defendants state that the patents cited in Paragraph 51 of the FAC speak for

 themselves, and otherwise deny the allegations set forth in Paragraph 51 of the FAC.

        52.     Defendants state that the webpages from the domain https://goli.com cited in

 Paragraph 52 of the FAC speak for themselves. Defendants otherwise lack sufficient knowledge

 or information to form a belief as to the allegations set forth in Paragraph 52 of the FAC, and

 therefore deny those allegations.

        53.     Defendants state that the webpage at the URL cited in Paragraph 53 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 53 of the FAC.

        54.     Defendants admit that the image cited in Paragraph 54 of the FAC has appeared on

 the domain https://goli.com.

        55.     Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 55 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 55 of the FAC.

        56.     Denied.

        57.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 57 of the FAC, and therefore deny those allegations.

        58.     Denied.

        59.     Defendants state that Goli Nutrition’s advertising speaks for itself, and otherwise

 deny the allegations set forth in Paragraph 59 of the FAC.




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        60.     Defendants admit that ads for Goli Nutrition products have appeared on Facebook,

 YouTube, and Instagram. Except as so admitted, Defendants deny the remainder of the allegations

 set forth in Paragraph 60 of the FAC.

        61.     Defendants admit that a third party filed a complaint with the National Advertising

 Division. Defendants state that Exhibit C to the FAC and the other filings in the proceeding before

 the NAD speak for themselves. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 61 of the FAC.

        62.     Defendants state that Exhibit C to the FAC speaks for itself, and otherwise deny

 the allegations set forth in Paragraph 62 of the FAC.

        63.     Defendants state that Exhibit C to the FAC speaks for itself, and otherwise deny

 the allegations set forth in Paragraph 63 of the FAC.

        64.     Defendants state that Exhibit C to the FAC speaks for itself, and otherwise deny

 the allegations set forth in Paragraph 64 of the FAC.

        65.     Denied.

        66.     Denied.

        67.     Denied.

        68.     Defendants admit that paid affiliates have posted material related to concerning

 ACV Gummies on social media. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 68 of the FAC.

        69.     Defendants deny the allegations in Paragraph 69 of the Complaint, including that

 GOLO is “truthful” in its advertising and that Goli Nutrition’s market share has had any effect

 whatsoever on GOLO, which does not compete with Goli Nutrition.

        70.     Denied.



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        71.     Defendants admit that Goli Nutrition offers an “Ashwagandha Gummy” product

 for sale that was launched in or about January 2021. Except as so admitted, Defendants deny the

 remainder of the allegations set forth in Paragraph 71 of the FAC.

        72.     Defendants admit that Ashwagandha is an adaptogen that helps the body maintain

 balance and adjust to stress. Defendants lack sufficient knowledge or information to form a belief

 as to the remaining allegations set forth in Paragraph 72 of the FAC, including as to the accuracy

 or authenticity of the materials cited therein, and therefore deny those allegations. To the extent

 the accuracy or authenticity of those materials may be established, those materials speak for

 themselves, and Defendants otherwise deny the allegations set forth in Paragraph 72 of the FAC..

        73.     Denied.

        74.     Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 74 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 74 of the FAC.

        75.     Defendants admit that paid affiliates have posted material related to Ashwa

 Gummies on social media. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 75 of the FAC.

        76.     Defendants admit that Goli Nutrition offers a “Superfruits Gummy” product for

 sale that was launched in or about May 2021. Except as so admitted, Defendants deny the

 remainder of the allegations set forth in Paragraph 76 of the FAC.

        77.     Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 77 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 77 of the FAC, although Defendants aver

 that GOLO completely redesigned the packaging and label of its Release pill to make it appear



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 more similar to Goli Nutrition’s Superfruits packaging only after Goli began using the same, and

 that GOLO only began prominently displaying its GOLO mark on its Release product in late 2021,

 long after it initiated this action.

         78.     Denied.

         79.     Defendants admit that Goli Nutrition products are sold at the URL www.goli.com

 and through the Amazon platform. Defendants otherwise lack sufficient knowledge or information

 to form a belief as to the allegations set forth in Paragraph 79 of the FAC, and therefore deny those

 allegations.

         80.     Denied.

         81.     Denied.

         82.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 82 of the FAC, and therefore deny those allegations.

         83.     Denied.

         F.      Defendants and their Junior Use of the GOLI Marks

         84.     Defendants admit that Goli Canada owns the domain www.goli.com, and state that

 the webpage located at that domain speaks for itself. Defendants further admit that consumers can

 purchase products through the www.goli.com website, and that the “Goli” trademark appears on

 the website www.goli.com.         Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 84 of the FAC.

         85.     Defendants admit that Goli Nutrition uses a trademark incorporating the word

 “Goli.” Except as so admitted, Defendants deny the remainder of the allegations set forth in

 Paragraph 85 of the Complaint.

         86.     Defendants admit that the Goli Marks are and have been used in television

 advertisements and in social media marketing. Defendants further admit that certain Goli-branded
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 products are available for sale at various retailers throughout the United States, including

 Delaware, and that such retailers include Target, Walmart, Bed Bath & Beyond, The Vitamin

 Shoppe, and GNC. Except as so admitted, Defendants deny the remainder of the allegations set

 forth in Paragraph 86 of the FAC.

        87.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 87 of the FAC, and therefore deny those allegations.

        88.     Denied.

        89.     Denied.

        90.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 90 of the FAC, and therefore deny those allegations.

        91.     Denied.

        92.     Paragraph 92 of the FAC asserts legal conclusions to which no response is required.

 To the extent a response is required, Defendants deny the allegations set forth in Paragraph 92 of

 the FAC.

        G.      Defendants’ Applications To Register, and Registration of, GOLI

        93.     Defendants admit that Goli Canada is the owner of Trademark Registration No.

 6,047,784 for the trademark GOLI, which was first used on the goods and services listed in U.S.

 Trademark Registration No. 6,047,784 in April 2019. Defendants further state that Exhibit D to

 the FAC speaks for itself. Except as so admitted, Defendants deny the remainder of the allegations

 set forth in Paragraph 93 of the FAC, and reject GOLO’s characterization of their registration for

 GOLI as “Infringing.”

        94.     Defendants admit that Goli Canada filed applications to register the trademarks

 identified in Paragraph 94(a)-(c). Except as so admitted, Defendants deny the remainder of the



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 allegations set forth in Paragraph 94 of the FAC and reject GOLO’s characterization of their

 applications for GOLI as “Infringing.”

        95.     Paragraph 95 asserts legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations set forth in Paragraph 95 of the FAC.

        96.     Defendants admit that they did not use any of the Goli Marks or file any trademark

 applications for the term “Goli” prior to May 2, 2013. Paragraph 96 of the FAC otherwise asserts

 legal conclusions to which no response is required. To the extent a response is required,

 Defendants deny the allegations set forth in Paragraph 96 of the FAC.

        97.     Denied.

        98.     Defendants admit that Mr. Bitensky was involved in the selection of the Goli mark

 and as President and co-founder is involved in the operation of the company. Except as so

 admitted, Defendants deny the remainder of the allegations set forth in Paragraph 98 of the FAC.

        99.     Denied.

        H.      Defendants’ False and Misleading Statements

        100.    Denied.

        101.    Denied.

        102.    Denied.

        103.    Denied.

        104.    Denied.

                    Two ACV Gummies Are Not Equal to a “Shot” of ACV

        105.    Denied.

        106.    Denied.

        107.    Denied.



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        108.    Defendants state that the webpage at the URL cited in Paragraph 108 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 108 of the FAC.

        109.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 109 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 109 of the FAC.

        110.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 110 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 110 of the FAC.

        111.    Defendants admit that current versions of bottles of ACV Gummies sold by Goli

 Nutrition do not include a “2=1 Claim,” as that term is defined by GOLO in the FAC. Except as

 so admitted, Defendants deny the remainder of the allegations set forth in Paragraph 111 of the

 FAC.

        112.    Defendants admit that the “Frequently Asked Questions” page cited in Paragraph

 112 of the FAC does not make any reference to the “2=1 Claim,” as that term is defined by GOLO

 in the FAC. Except as so admitted, Defendants deny the remainder of the allegations set forth in

 Paragraph 112 of the FAC.

        113.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 113 of the FAC and therefore deny those allegations.

        114.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 114 of the FAC and therefore deny those allegations.

        115.    Denied.

        116.    Denied.




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        117.    Defendants state that the webpage at the URL cited in Paragraph 117 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 117 of the FAC.

        118.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 118 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 118 of the FAC.

        119.    Admitted.

        120.    Denied.

        121.    Denied.

        122.    Defendants state that the webpage at the URL cited in Paragraph 122 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 122 of the FAC.

        123.    Denied.

        124.    Denied.

        125.    Denied.

        126.    Denied.

        127.    Denied.

        128.    Denied.

        129.    Denied.

        130.    Denied.

                     Goli’s ACV Gummies Do Not Contain 500 mg of ACV

        131.    Denied.

        132.    Denied.

                     Goli’s ACV Gummies Do Not Contain “The Mother”

        133.    Defendants state that the webpage at the URL cited in Paragraph 133 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 133 of the FAC.

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        134.     Denied.

        135.     Defendants state that the webpage at the URL cited in Paragraph 135 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 135 of the FAC.

        136.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 136 of the FAC and therefore deny those allegations.

        137.     Denied.

        138.     Denied.

        139.     Denied.

               Defendants Misrepresent the Ingredients in Goli’s Ashwa Gummies

        140.     Denied.

        141.     Defendants state that the webpage at the URL cited in Paragraph 141 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 141 of the FAC.

        142.     Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 142 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 142 of the FAC.

        143.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 143 of the FAC, and therefore deny those allegations.

        144.     Defendants admit that the Ashwa Gummies sold by Goli Nutrition are vegan, and

 that they are labeled accordingly. Except as so admitted, Defendants deny the remainder of the

 allegations set forth in Paragraph 144 of the FAC.

        145.     Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 145 of the FAC, and therefore deny those allegations.

        146.     Denied.

        147.     Denied.
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                    Ashwa Gummies Contain More Calories than Claimed

        148.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 148 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 148 of the FAC.

        149.    Denied.

        150.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 150 of the FAC, and therefore deny those allegations.

        151.    Denied.

        152.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 152 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 152 of the FAC.

   Defendants’ False and Misleading Claims That the Benefits of its Ashwa Gummies Are
                                   “Clinically Proven”

        153.    Denied.

        154.    Defendants state that the webpage at the URL cited in Paragraph 154 of the FAC

 speaks for itself. Defendants are unable to ascertain, among other things, the authenticity or date

 of the other materials cited in Paragraph 154 of the FAC based upon the information contained in

 the FAC, and therefore deny the allegations concerning those materials. Defendants otherwise

 deny the allegations set forth in Paragraph 154 of the FAC.

        155.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 155 of the FAC concerning the purported postings by parties

 other than Goli Nutrition. Defendants state that posting on Goli Nutrition social media pages speak

 for themselves. Defendants otherwise deny the allegations set forth in Paragraph 155 of the FAC.




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        156.    Defendants state that the webpage at the URL cited in Paragraph 156 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 156 of the FAC.

        157.    Denied.

        158.    Denied.

        159.    Denied.

        160.    Denied.

        161.    Denied.

                     Defendants’ False and Misleading “Organic” Claims

        162.    Denied.

        163.    Denied.

        164.    Defendants state that the webpage at the URL cited in Paragraph 164 of the FAC

 speaks for itself, and otherwise deny the allegations set forth in Paragraph 164 of the FAC.

        165.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 165 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 165 of the FAC.

        166.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 166 of the FAC, and therefore deny those allegations.

        167.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 167 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 167 of the FAC.

        168.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 168 of the FAC, and therefore deny those allegations.




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        169.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 169 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 169 of the FAC.

        170.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 170 of the FAC, and therefore deny those allegations.

        171.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 171 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 171 of the FAC.

        172.    Defendants are unable to ascertain, among other things, the authenticity or date of

 the materials cited in Paragraph 172 of the FAC based upon the information contained in the FAC.

 Defendants therefore deny the allegations in Paragraph 172 of the FAC.

        173.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 173 of the FAC, and therefore deny those allegations.

        174.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 174 of the FAC, and therefore deny those allegations.

        175.    Defendants lack sufficient knowledge or information to form a belief as to the

 allegations set forth in Paragraph 175 of the FAC, and therefore deny those allegations.

        176.    Denied.

        177.    Defendants admit that Paragraph 177 sets out a series of terms defined by Plaintiff.

 Except as so admitted, Defendants deny the remainder of the allegations set forth in Paragraph 177

 of the FAC and deny that any of the terms defined therein are accurate.

       I.     Defendants’ False and Misleading Claims and Goli’s Use of the GOLI Marks
 Have Injured Consumers and GOLI.

        178.    Denied.


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        179.    Denied.

        180.    Defendants lack knowledge or information sufficient to form a belief as to the

 allegations of Paragraph 180 of the FAC, and therefore deny those allegations.

        181.    Denied.

        182.    Denied.

        183.    Denied.

        184.    Denied.

        185.    Denied.

        186.    Denied.

        187.    Denied.

        188.    Denied.

        189.    Denied.

        190.    Denied.

        191.    Denied.

        192.    Denied.

        193.    Denied.

        194.    Denied.

        195.    Denied.

        196.    Denied.

        197.    Denied.

        198.    Denied.

               COUNT I – INFRINGEMENT OF REGISTERED TRADEMARK
                                (Against All Defendants)




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        199.    Defendants incorporate by reference their responses to Paragraphs 1 through 198

 of the FAC as if set forth fully herein.

        200.    Denied.

        201.    Denied.

        202.    Denied.

        203.    Denied.

        204.    Denied.

        205.    Denied.

                       COUNT II – FALSE DESIGNATION OF ORIGIN
                                   (Against All Defendants)

        206.    Defendants incorporate by reference their responses to Paragraphs 1 through 205

 of the FAC as if set forth fully herein.

        207.    Denied.

        208.    Denied.

        209.    Denied.

        210.    Denied.

        211.    Denied.

   COUNT III – CANCELLATION OF DEFENDANTS’ INFRINGING REGISTRATION
                               (Against Goli)

        212.    Defendants incorporate by reference their responses to Paragraphs 1 through 211

 of the FAC as if set forth fully herein.

        213.    Denied.

        214.    Denied.

        215.    Denied.



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               COUNT IV – FALSE ADVERTISING UNDER FEDERAL LAW
                               (Against All Defendants)

        216.    Defendants incorporate by reference their responses to Paragraphs 1 through 215

 of the FAC as if set forth fully herein.

        217.    Denied.

        218.    Denied.

        219.    Denied.

        220.    Denied.

        221.    Denied.

        222.    Denied.

        223.    Denied.

        224.    Denied.

             COUNT V – UNFAIR COMPETITION UNDER DELAWARE LAW
                              (Against All Defendants)

        225.    Defendants incorporate by reference their responses to Paragraphs 1 through 224

 of the FAC as if set forth fully herein.

        226.    Denied.

        227.    Denied.

        228.    Denied.

        229.    Denied.

       COUNT VI – UNFAIR COMPETITION UNDER DELAWARE LAW (FALSE
                              ADVERTISING)
                           (Against All Defendants)

        230.    Defendants incorporate by reference their responses to Paragraphs 1 through 229

 of the FAC as if set forth fully herein.

        231.    Denied.

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           232.   Denied.

           233.   Denied.

           234.   Denied.

                                       PRAYER FOR RELIEF

           Defendants deny that GOLO is entitled to any recovery or relief in connection with the

 allegations set forth in the FAC, including, but not limited to, the requested relief set out in the

 FAC’s Prayer for Relief.

                                        GENERAL DENIAL

           Defendants deny each and every allegation of the Complaint not specifically admitted

 herein.

                                    AFFIRMATIVE DEFENSES

           As affirmative, separate, and other defenses to the Complaint asserted against Defendants,

 Defendants state as follows without assuming the burden of proof on matters where it has no such

 burden. In doing so, Defendants specifically reserve the right to restate, re-evaluate, or recall any

 defenses and to assert additional defenses based on information learned or obtained during

 discovery.

                                 FIRST AFFIRMATIVE DEFENSE

           The Complaint fails to state a claim upon which relief may be granted.

                               SECOND AFFIRMATIVE DEFENSE

           GOLO is engaged in trademark misuse in attempting to monopolize the market beyond the

 boundaries of any purported trademark rights it may have, if any. In particular, Plaintiff seeks to

 enjoin and recover damages as a result of Defendants’ use of a wholly different mark that is used

 in connection with products that Plaintiff does not sell.

                                THIRD AFFIRMATIVE DEFENSE

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        Some or all of the relief sought by GOLO is barred because GOLO has failed to establish

 irreparable injury.

                              FOURTH AFFIRMATIVE DEFENSE

        The relief sought by GOLO is barred by the doctrine of unclean hands.

        First, Plaintiff has made grossly inconsistent statements regarding the GOLO mark that if

 not illegal, were unconscionable and should bar the relief sought in the Complaint. In particular,

 on September 3, 2013, Plaintiff swore to the United States Patent and Trademark Office that it first

 used the GOLO mark in connection with dietary supplements in commerce on May 2, 2013, and

 has asserted that date of first use against Defendants. However, in another sworn statement

 subsequently filed on March 30, 2015 by Plaintiff’s Chief Executive Officer and co-founder

 Christopher Lundin, in connection with his Chapter 7 Voluntary Petition filed with the United

 States Bankruptcy Court for the District of Delaware (Case No. 15-10435-LSS), Mr. Lundin stated

 that Plaintiff “has yet to bring a product to market” and “[t]he only assets of the company are the

 web address and derivatives thereof, as well as a license for use of the nutriceutial [sic] it plans to

 sell.” (emphasis added.) As such, Plaintiff or its principal was dishonest with the USPTO or with

 the United States Bankruptcy Court for the District of Delaware. Either way, Plaintiff, upon

 information and belief, lied to the federal government and materially and publicly misstated its

 rights to the GOLO mark that it now asserts against Defendants. Such conduct should bar the

 relief sought here.

        Second, Plaintiff’s claims are barred, in whole or in part, in light of its false and misleading

 claims regarding its GOLO-branded products and services that purportedly compete with

 Defendants’ products and form the basis of its claims. As detailed in Goli Nutrition’s

 counterclaims, Plaintiff has engaged in labeling, marketing and advertising conduct designed to

 deceive consumers about its products. For instance, Plaintiff previously advertised the Release
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 pill exclusively as a weight loss product, specifically “[a] patented, insulin-controlling supplement

 designed to restore insulin performance, curb hunger cravings, and stop fat storage so you can lose

 weight and keep it off.” See Exhibit 1, at 2. More recently, GOLO has altered its advertising of

 the Release pills to promise a host of additional benefits, claiming that “the ingredients in Release

 have the unique ability to support multi-dimensional therapeutic benefits including: Increased

 energy and reduced fatigue; Healthier immune function; Reduced hunger and cravings; Balanced

 blood sugar and insulin levels; [and] Reduced stress levels and anxiety.” See Exhibit 2, at 1.. As

 set out further in Goli Nutrition’s counterclaims, these claims are false and unsupported. As an

 additional example, as set forth in Goli Nutrition’s counterclaims, Plaintiff has altered the manner

 in which it markets its products to advance new and unsupported claims that its products offer

 benefits comparable to Goli Nutrition’s products to manufacture support for its story that the

 parties compete, when in fact they do not, and to injure Goli Nutrition’s reputation in the

 market. Thus, as detailed in Goli Nutrition’s counterclaims, Plaintiff is seeking to capitalize in

 this case on the fruits of its own misconduct in the form of misleading labeling and advertising.

 Defendants and the public at large have been and continue to be injured by Plaintiff’s egregious

 misconduct.

                               FIFTH AFFIRMATIVE DEFENSE

        GOLO’s claims are barred, in part or in whole, by the doctrine of laches, in that GOLO has

 unreasonably delayed efforts to enforce its rights, if any, despite full awareness of Defendants’

 actions.

                               SIXTH AFFIRMATIVE DEFENSE

        Count V of the Complaint must be dismissed because (1) pursuant to 15 U.S.C. § 1119,

 cancellation of a federal trademark registration is a remedy, not a separate cause of action; and (2)

 there is no infringement.

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                              SEVENTH AFFIRMATIVE DEFENSE

        GOLO’s false advertising claims fail due to lack of Article III and Lanham Act standing.

                                    ADDITIONAL DEFENSES

        Defendants reserve the right to assert additional defenses based on information learned or

 obtained during discovery.

                                        COUNTERCLAIMS

        For their counterclaims against Counter-Defendants GOLO LLC and Christopher Lundin

 (together, “GOLO”), Counter-Plaintiffs Goli Nutrition Inc., a Canadian Corporation (“Goli

 Canada”), and Goli Nutrition Inc., a Delaware Corp. (“Goli US,” and together with Goli Canada,

 “Goli Nutrition”), respectfully state as follows:

                              NATURE OF THE COUNTERCLAIMS

        1.      This is an action for false and/or misleading representations or descriptions of facts,

 false advertising, unfair competition, and deceptive trade practices under the United States

 Trademark (Lanham) Act, 15 U.S.C. §§ 1051 et seq. (as amended), and Delaware statutory and

 common law arising from GOLO’s intentional false and/or misleading representations of fact

 concerning the nature, quality, and characteristics of GOLO’s weight loss and weight control

 products. For example, GOLO has made numerous false and misleading advertising claims on the

 GOLO website and other electronic and printed materials regarding the ability of GOLO’s

 products to treat, mitigate, cure, or prevent diseases or symptoms associated with diseases, the

 purported “clinically proven” health and wellness benefits of GOLO’s Release diet pill

 (“Release”), and the results consumers can expect to obtain by taking Release. On information

 and belief, GOLO has made false or misleading advertising claims about Release to emulate Goli

 Nutrition, despite the fact that GOLO’s claims do not have the same substantiation as Goli’s

 claims, and to create the impression in the marketplace that GOLO’s diet pill competes with Goli

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 Nutrition’s innovative supplement products, when it does not, both to manufacture support for

 GOLO’s false advertising and unfair competition claims against Goli Nutrition and Goli

 Nutrition’s co-founder and President, Michael Bitensky, and to cause harm to Goli Nutrition’s

 reputation and standing in the marketplace as a leader in providing high-quality and in-demand

 nutritional supplements.

        2.      GOLO’s actions constitute false and/or misleading representations or descriptions

 of facts, false advertising, and unfair competition. On information and belief, GOLO’s false and/or

 misleading representations or descriptions of fact, false advertising, and unfair competition are

 likely to and will inevitably demean, disparage and tarnish the goodwill and business reputation

 created by Goli Nutrition, harm Goli Nutrition’s credibility in the trade, and reduce the demand

 for Goli Nutrition’s products

        3.      Additionally, Goli Nutrition brings these counterclaims to obtain a declaration that

 certain U.S. trademark registrations allegedly owned by GOLO are invalid because those

 registrations were based on inaccurate declarations of use, and therefore, were not and are not

 entitled to registration on void ab initio grounds, or because the registered marks have been

 abandoned through non-use of more than three years with an intent not to resume use. Goli

 Nutrition is being damaged by these invalid registrations because GOLO is asserting the

 registrations against Goli Nutrition in this action, and therefore requests that this Court order

 cancellation of the invalid registrations under authority of 15 U.S.C. § 1119.

        4.      As a result of GOLO’s unlawful actions, Goli Nutrition seeks a permanent

 injunction, corrective advertising damages, costs, attorneys’ fees, punitive damages, declaratory

 relief and other relief as more fully set forth below.

                                              PARTIES



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        5.      Counter-Plaintiff Goli Canada is a corporation organized on October 4, 2018, under

 the federal laws of Canada with its principal place of business at 1 Westmount Square, Suite 1500,

 Westmount, H3Z2P9, Quebec, Canada.

        6.      Counter-Plaintiff Goli US is a corporation organized on April 30, 2019, under the

 laws of the State of Delaware with its principal place of business at 1 Westmount Square, Suite

 1500, Westmount, H3Z2P9, Quebec, Canada.

        7.      Goli Canada and Goli US have been named as Defendants in this action.

        8.      On information and belief, Counter-Defendant GOLO, LLC is a Delaware limited

 liability company with its principal place of business at 258 Chapman Road, Chopin Building,

 Suite 104, Newark, Delaware 19702.

        9.      GOLO, LLC is the Plaintiff in this action.

        10.     On information and belief, Counter-Defendant Christopher Lundin is domiciled in

 Delaware and is, and at all relevant times was, the Chief Executive Officer of GOLO, LLC. On

 information and belief, Mr. Lundin authorizes, controls, and directs GOLO, LLC’s marketing and

 advertising claims and strategies, including without limitation the various claims made by GOLO,

 LLC described herein, as well as GOLO, LLC’s litigation strategies.

                                 JURSIDICTION AND VENUE

        11.     These counterclaims arise under, respectively, the Lanham Act, 15 U.S.C. § 1051

 et seq., DEL. CODE ANN. TTT. 6 § 2531, and the common law of the state of Delaware.

        12.     The Court has subject matter jurisdiction of this action under 15 U.S.C. § 1121 and

 28 U.S.C. §§ 1331, 1338, and 2201 because the action arises under the Declaratory Judgment Act,

 28 U.S.C. § 2201 et seq. and the Lanham Act, 15 U.S.C. § 1051 et seq. This Court has

 supplemental jurisdiction over the counterclaims arising under the law of Delaware pursuant to

 under 28 U.S.C. § 1367 because these counterclaims are so related to the counterclaim arising
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 under the Lanham Act that they form part of the same case and controversy under Article III of

 the United States Constitution.

        13.     Venue is properly laid in this District pursuant to 28 U.S.C. § 1391.

                                         BACKGROUND

 II.    GOLI NUTRITION’S EXCEPTIONAL REPUTATION AND SUCCESS IN THE
        GROWING MARKET FOR NUTRITIONAL SUPPLEMENTS

        14.     Goli Nutrition is an inventive, people-focused nutrition company that believes

 happiness and wellness go hand in hand. Consistent with this core belief, Goli Nutrition’s mission

 is to help consumers reach their nutrition goals while enjoying their daily supplements.

        15.     Traditional nutritional supplements typically have an unpleasant taste and are

 difficult to swallow, which makes it challenging for many consumers to incorporate them into their

 daily routine consistently. Goli Nutrition solves this problem by developing and bringing to

 market a range of innovative nutritional supplements, each containing essential vitamins and

 nutrients delivered via an easy-to-take chewable form with delicious flavor profiles designed to

 make consumers enjoy and look forward to taking their daily supplements.

        16.     Today, Goli Nutrition is a highly recognized name in the nutritional supplement

 space, and the company has a proven reputation for creating high-quality supplements. Its award-

 winning products are shipped to over 180 countries and can be found in more than 100,000 stores

 including the world’s leading retailers: CVS, Target, Walgreens, Walmart, Krogers, Costco,

 Amazon and many more.

        17.     Since its launch in 2018, Goli Nutrition has been committed to supporting

 underserved communities and promoting health among vulnerable populations through its

 partnership with The Vitamin Angel Alliance, Inc. (“Vitamin Angels”), a 501(c)(3) non-profit

 organization headquartered in the United States. Vitamin Angels focuses on the reduction of


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 preventable morbidity, blindness and mortality associated with micronutrient deficiencies among

 children under five years of age through the distribution of vitamin A supplementation, deworming

 and prenatal vitamins. To date, Goli Nutrition has helped Vitamin Angels reach over 400,000

 women and children with nutrition interventions. With every purchase made through Goli

 Nutrition’s website, Goli Nutrition donates a 1-for-1 vitamin grant to a mother or child in need

 through Vitamin Angels. This alliance between Vitamin Angels and Goli Nutrition has been

 instrumental in Goli Nutrition’s magnified global impact and the goodwill associated with its

 brand.

 III.     GOLI NUTRITION’S PRODUCTS

          18.   Goli Nutrition’s high-quality products are formulated by a team of experts through

 sound ingredient-based science.

          19.   Goli Nutrition’s product development is guided by a Scientific and Nutritional

 Advisory Board comprised of experts in the science and nutrition space. These experts conduct a

 comprehensive review of clinical data and scientific literature related to the key ingredients in Goli

 Nutrition’s products to validate the reported benefits and ensure that consumption of the ingredient

 is safe and effective. Goli Nutrition works with its Scientific and Nutritional Advisory Board and

 its manufacturer to create innovative product formulations that combine high-quality,

 substantiated ingredients into delicious and convenient wellness solutions.

          20.   Goli Nutrition’s gummies are manufactured in a state-of-the-art, FDA-registered

 and BRC-certified facility in the United States. BRC certification is a standard for international

 food safety management systems and is one of the recognized certification schemes of the Global

 Food Safety Initiative. It contains requirements for food processors to follow to build an effective

 food safety management system. The facility was designed with quality in mind in order to



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 produce safe, reputable products with the highest standard of quality assurance carried out

 throughout the entire manufacturing process.

        21.     To provide high-quality products to consumers, Goli Nutrition works closely with

 its manufacturer to test its products at every stage of its production process, from manufacturing

 to quality checks upon packaging. Goli Nutrition ensures that not only the highest quality

 ingredients are used, but that the highest standard of quality assurance is carried out throughout

 the entire production process.

        A.      ACV Gummies

        22.     Goli Nutrition’s Apple Cider Vinegar (“ACV”) gummies combine apple cider

 vinegar powder with folic acid (vitamin B9), cyanocobalamin (vitamin B12), beet root, and

 pomegranate in a chewable gummy with a signature, delicious apple taste. ACV has been

 consumed for centuries as a traditional remedy for digestion, gut health, and appetite, and Goli

 Nutrition is proud to have been the first to offer the unique formula of powdered ACV with vitamin

 B9 and Vitamin B12 and other ingredients in a convenient gummy format favored by many

 consumers.

        23.     Through innovation and technology, Goli Nutrition created a patented, industry-

 disrupting, first-of-its kind product to help consumers incorporate ACV and other complementary

 vitamins into their daily routine via a chewable gummy with a signature, delicious apple taste.

 Goli Nutrition released its ACV gummies, its first product, in the United States on April 19, 2019.

        24.     The vitamin B9 (folic acid) and vitamin B12 in Goli Nutrition’s ACV gummies

 play a key role in maintaining homocysteine levels, which help support a healthy heart.

        25.     The vitamin B12 in Goli Nutrition’s ACV gummies also helps support a healthy

 immune system, a healthy nervous system, helps convert food into cellular energy, and helps the

 body metabolize nutrients more effectively.
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        26.    Health Canada, the Canadian regulator responsible for dietary supplements, has

 granted Goli Nutrition’s ACV gummies a Natural Health Product Number (80112100) for the

 following claims at the recommended daily serving of 1-2 gummies, 3 times daily:

               a      Used in Herbal Medicine to help support digestion.

               b      Source of vitamin(s), a factor/factors in the maintenance of good health.

               c      Source of vitamin(s), a factor/factors in normal growth and development.

               d      Source of vitamin(s) to support biological functions which play a key role

                      in the maintenance of good health.

               e      Maintains good health.

               f      Contributes to maintaining general health.

               g      For maintaining general health.

               h      A factor in the maintenance of good health.

               i      Vitamin supplement.

               j      Multi-vitamin supplement.

               k      Helps to form red blood cells.

               l      Helps in the normal function of the immune system.

               m      Helps in energy metabolism in the body.

               n      Helps to maintain healthy metabolism.

               o      Helps to maintain the body’s ability to metabolize nutrients.

               p      Source of antioxidant(s)/ Provides antioxidant(s).

               q      Source of antioxidant(s)/ Provides antioxidant(s) that help(s) fight/ protect

                      (cell) against/reduce (the oxidative effect of/ the oxidative damages caused

                      by/ cell damage caused by) free radicals.



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          27.     Throughout 2019 and 2020, Goli Nutrition sold only ACV gummies, and the

 product became a resounding success, winning awards and becoming a daily part of millions of

 households.

          B.      Ashwa Gummies

          28.     Goli Nutrition launched its second product, Ashwa gummies, in the U.S. market on

 January 7, 2021. The launch of Goli Nutrition’s Ashwa gummies was a great success.

          29.     The success of Goli Nutrition’s Ashwa gummies is due in large part to the

 innovative product formulation, which includes high-quality ingredients that provide supported

 health benefits and a delicious berry flavor profile.

          30.     Goli Nutrition’s Ashwa gummies are formulated with KSM-662 Ashwagandha root

 extract and ergocalciferol (vitamin D2), among other ingredients. Each gummy contains 12.5 mcg

 ergocalciferol and 150 mg KSM-66 Ashwagandha, which both provide important benefits.

          31.     Ergocalciferol is a form of vitamin D that helps the body absorb calcium and

 maintain adequate levels of serum calcium and phosphorus, thereby enabling normal bone

 mineralization and preventing hypocalcemic tetany. Vitamin D also helps support proper immune

 function. Ergocalciferol is fat-soluble (can dissolve in fats and oils) and is found in plants and

 yeast.

          32.     Ashwagandha (Withania somnifera) is an adaptogen which supports the

 normalization and balance of body system functions and stress that can destabilize normal bodily

 functions. For this reason, it has long been described as promoting health, revitalizing the body,

 and generally creating a sense of wellbeing. It is the flagship herb of Ayurveda, the traditional

 system of medicine from India, and has been used for centuries to help with an array of ailments.



 2
     KSM-66 is a registered trademark of Ixoreal Biomed, Inc.
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 For example, ashwagandha is featured as an aphrodisiac in the ancient Kama Sutra text, which

 historians date back to between 400 BCE and 300 CE. More recently, ashwagandha has been

 studied in pharmacology and medicine to determine its potential effects on a variety of human

 structures and functions. Well-designed studies in humans show that ashwagandha has effects

 against stress, notably accompanied by, among others, decreases in cortisol, improvements in

 female sexual function, increases in sperm count volume and motility, increases in testosterone,

 and physical performance.       Ashwagandha is one of few herbs with significant effects on

 psychological and physiological aspects of human functioning.

        33.     Ashwagandha contains several active components, which include alkaloids

 (isopelletierine, anaferine), steroidal lactones (withanolides, withaferins), and saponins.

 Ashwagandha’s anxiolytic effects have been attributed to its activity as a gamma-aminobutyric

 acid (“GABA”) mimetic agent, and it has also been postulated that its anticonvulsant activity is

 due to binding to the GABA receptor. Regarding its anti-stress activity, research indicates that

 ashwagandha suppresses stress-induced increase of dopamine receptors in the corpus striatum of

 the brain, while at the same time it acts to reduce stress-induced increases of plasma corticosterone,

 blood urea nitrogen, and blood lactic acid.

        34.     The KSM-66 ashwagandha extract (“KSM-66”) used in Goli Nutrition’s Ashwa

 gummies is a proprietary ashwagandha extract that is superior to other ashwagandha extracts on

 the market. KSM-66 is the ashwagandha root extract with the most extensive set of research

 studies and clinical trials. It is also the botanical with the highest number of certifications.

        35.     KSM-66 is made using only the roots of the ashwagandha plant with absolutely no

 addition of leaves. Although use of the root only is more expensive, both independent clinical

 trials and in thousands of years of traditional use, the root is the part of the plant that is used



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 predominantly for adaptogenic benefits and internal ingestion. The leaves were traditionally used

 for topical treatments on the skin, not internal consumption.

        36.     KSM-66 is a full-spectrum root extract, which means it maintains the balance of

 the various constituents as in the original root, without over-representing any one constituent. The

 ashwagandha root’s efficacy is believed to be derived from a complex blend of active constituents,

 mainly alkaloids like withanine, somniferine, tropine and steroidal lactones called withanolides.

 All these constituents need to be present approximately in their natural proportions, and hence it

 is necessary for an extract to be full spectrum. KSM-66 has the highest percentage of withanolides

 of all branded root-only extracts on the market today. It has more than five percent concentration

 of withanolides as measured by HPLC.

        37.     KSM-66 has been studied in more research studies and clinical trials than any other

 ashwagandha extract on the market. To date, there are 24 clinical studies that have assessed the

 effects of KSM-66 on human structures and functions. These trials follow the gold standard—

 double-blind, placebo-controlled, randomized studies.

        38.     The published studies on KSM-66 are of academia standard, were conducted using

 generally accepted professional procedures, and all are published in PubMed-indexed high-quality

 medical journals. The principal investigators are leading researchers with established publication

 records.

        39.     Additionally, the studies evaluated KSM-66 administered to subjects in two daily

 servings of 300 mg (600 mg daily serving)—the same amount of KSM-66 in a daily serving of

 Goli Nutrition’s Ashwa gummies. The studies also used the standardized form of ashwagandha

 root extract supplied by Ixoreal BioMed and used by Goli Nutrition in its Ashwa gummies.




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        40.     For example, the studies have shown that KSM-66 supports the improvement of

 memory and cognitive abilities as well as information processing, executive function, and attention

 in healthy individuals.

        41.     Additionally, the studies have shown that KSM-66 reduces levels of cortisol, a

 stress-related hormone. Stress can cause an increase in food cravings and overeating. Research

 shows that by lowering cortisol levels, KSM-66 can help reduce stress-related food cravings,

 helping to reduce and maintain a healthy body weight. For example, one study by Choudhary et

 al. (2016) (conducted a double-blind, randomized, placebo-controlled trial on 52 men and women

 under chronic stress to evaluate the efficacy of KSM-66 and determine its role in weight

 management. Results of the study demonstrate that KSM-66 is useful for reducing body weight

 and maintaining a healthy weight in adults experiencing chronic stress because, among other

 things, it reduces stress-related food cravings by lowering serum cortisol levels.

        42.     The studies also have shown that KSM-66 can improve sleep efficiency, total sleep

 time, and sleep quality.

        43.     During exercise, ashwagandha is believed to improve energy supply to muscles,

 supporting cardiorespiratory endurance and strength. Studies have shown that KSM-66 could

 improve muscle size and strength as well as supporting natural testosterone production in men.

 For example, one study by Wankhede et al. (2015) studied the possible effects of 600 mg/day of

 KSM-66 on muscle mass and strength in healthy young men engaged in resistance training in an

 8-week, randomized, prospective, double-blind, placebo-controlled clinical study of 50 male

 subjects. The authors saw the KSM-66® group demonstrated significantly greater increases in

 muscle strength, muscle size, testosterone level, and reduction of exercise-induced muscle damage.




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        44.    Another study by Pérez-Gómez et al. (2020) was a meta-analysis of several

 randomized controlled trials of ashwagandha and its effects on VO2 max, a physiological

 parameter defining aerobic capacity. The meta-analysis included a total of four studies with 142

 young, healthy adults or athletes. The authors concluded that Ashwagandha supplementation may

 be useful in improving the VO2 max in athletic and non-athletic young adults.

        45.    Furthermore, ashwagandha is known as an ancient aphrodisiac. KSM-66 has been

 shown to support sexual function and wellness in both men and women.

        46.    As a result of the substantial clinical research that has been conducted, the

 following claims are substantiated for KSM-66 when used at 600 mg/day, which is the amount in

 a recommended daily serving of Goli Nutrition’s Ashwa gummies:

               a       Helps to reduce stress and anxiety.

               b       Helps to promote relaxation.

               c       Helps to improve the quality of sleep.

               d       Helps to reduce and maintain normal cortisol levels.

               e       Helps in the calming down of the body and mind.

               f       Helps to improve memory.

               g       Helps to improve learning (adaptation and recognition of systematicities).

               h       Helps to improve alertness (rapidity of recognizing changes in stimuli).

               i       Helps to improve concentration (the ability to filter out distracting stimuli

                       and increase performance speed).

               j       In women, helps to increase sexual arousal, orgasm and satisfaction.

               k       In men, helps the body to increase sperm concentration and volume.




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              l      In men, helps the body to increase and maintain healthy levels of

                     testosterone.

              m      Helps to boost stamina and endurance.

              n      Helps to increase muscle size in men.

              o      Helps to increase muscle strength in men.

              p      Helps to reduce body fact percentage in men.

              q      Helps to control stress-related food cravings.

              r      Helps to reduce and maintain healthy body weight.

              s      Helps to improve overall body composition when used as part of a healthy

                     diet and exercise program.

       47.    Accordingly, in Canada, Health Canada granted KSM-66 a Natural Product

 Number (80102381) for the following claims when used at 600 mg/day:

              a      Helps to increase resistance to stress/anxiety in individuals with history of

                     chronic stress, thereby improving their overall quality of life.

              b      Athletic support or Workout/Exercise supplement.

              c      Helps promote healthy testosterone production in males.

              d      Helps support physical aspects of sexual health in women.

              e      Traditionally used in Ayurveda for memory enhancement.

              f      Traditionally used in Ayurveda as Rasayana (rejuvenative tonic).

              g      Traditionally used in Ayurveda to relieve general debility, especially during

                     convalescence or old age.




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                h      Traditionally used in Ayurveda as a sleep aid. Used in herbal medicine as

                       an Adaptogen to help increase energy and resistance to stress (e.g., in case

                       of mental and physical fatigue related to stress).

                i      Helps support libido.

                j      Helps support emotional aspects of sexual health.

                k      Helps to support thyroid function in people with hypothyroidism.

                l      Helps in the function of thyroid gland in people with hypothyroidism.

                m      Helps promote physical performance in previously untrained individuals

                       when combined with regular resistance training.

                n      Helps to support aerobic endurance.

                o      Helps to improve the quality of sleep.

                p      Helps to relieve restlessness and/or nervousness (calmative).

        C.      Superfruits and Supergreens Gummies

        48.     Goli Nutrition launched its third product, Superfruits gummies, in the United States

 on May 21, 2021. Goli Nutrition’s Superfruits gummies are formulated with bamboo shoot extract,

 vitamins A, C and E, and a “super fruits” blend. Goli Nutrition selected these ingredients because

 they are known to support overall wellness and help promote collagen production.

        49.     Bamboo shoot extract is a rich source of natural silica, commonly referred to as

 bamboo silica, a trace mineral that supports the production of collagen. Collagen, the second most

 abundant substance in the human body, helps the skin maintain its structure and integrity. For

 example, collagen plays an important role in maintaining skin’s elasticity. Bamboo shoot extract

 is often used to reduce skin roughness and can improve the overall appearance of skin.




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        50.     Vitamin A is a fat-soluble vitamin that plays an important role in supporting a

 healthy immune system and maintaining vision. It also is a powerful antioxidant that helps reduce

 free radicals within the body.

        51.     Vitamin C is well-known for its powerful antioxidant activity and immune support

 capabilities. It also aids with collagen production which can improve skin’s elasticity and overall

 appearance.

        52.     Vitamin E is a fat-soluble vitamin that supports immune health and maintains

 healthy eyes. It also is a powerful antioxidant that helps reduce free radicals within the body.

        53.     Goli Nutrition launched its fourth product, Supergreens gummies, in the United

 States on September 21, 2021. Goli Nutrition’s Supergreens gummies are formulated with thiamin

 (vitamin B1), vitamins A, B12 and B6, and a “super greens” and probiotic blend, among other

 nutrient-rich ingredients.

        54.     Thiamin is a water-soluble vitamin, also known as vitamin B1, that plays a

 significant role in energy metabolism and the maintenance of a healthy nervous system.

        55.     Vitamin B6 is a water-soluble vitamin that helps support a healthy nervous system

 and performs numerous functions throughout the body which support overall good health and

 wellbeing.

        56.     As discussed above, vitamins A and B12 provide numerous benefits. For example,

 vitamin A helps support a healthy immune system, and vitamin B12 helps support cellular energy

 production and healthy metabolic energy.

        57.     The “super greens” blend in Goli Nutrition’s Supergreens gummies includes,

 among other ingredients, artichoke leaf extract derived from globe artichoke, which has been used

 both traditionally and clinically to support healthy liver function and digestion.



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        D.        Goli Bites

        58.       Continuing to lead with innovative wellness products, Goli Nutrition recently

 developed and brought to market several new products called “Goli Bites,” chewable supplements

 with a milk chocolate vanilla cocoa flavor and a fluffy nougat center packed with essential vitamins

 and nutrients.




                                            (Image of Goli Bites)

        59.       By combining a revolutionary chocolate flavor profile with high-quality, proven

 ingredients, consumers can truly enjoy incorporating more wellness into their daily routines.

        60.       Goli Nutrition began selling its Multi Bites and Calm Bites in the United States on

 November 9, 2021.

        61.       Multi Bites are formulated with a blend of vitamins including A, B3 (niacin), B5

 (pantothenic acid), B6, B9 (folate), B12 C, D, E, and H (biotin). This combination of vitamins

 supports numerous functions throughout the body and supports overall health and wellbeing.

        62.       Calm Bites are formulated with KSM-66 ashwagandha and reishi mushroom. As

 discussed above, KSM-66 is well studied and has been shown in clinical studies to help control

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 stress-related food cravings, reduce and maintain a healthy body weight, improve sexual function,

 reduce stress and promote relaxation, improve quality of sleep, support concentration and memory,

 and enhance physical performance and endurance. Reishi mushroom has been used for thousands

 of years and has adaptogenic properties to help balance the body and mind.

        63.    On January 24, 2022, Goli Nutrition began selling its Energy Bites in the United

 States. Goli Nutrition’s Energy Bites are made with guarana extract, caffeine, and vitamins B6,

 B9 and B12. As discussed above, these vitamins provide important benefits including to help

 support cellular energy production, heart health, a healthy immune system, and a healthy nervous

 system.

        64.    As Goli Nutrition expands, it continues to offer new and innovative products which

 are in no way in competition with those offered by diet and weight loss companies like GOLO.

 As a result, the allegations of competition and consumer confusion asserted by GOLO in support

 of its claims against Goli Nutrition in this action, which were attenuated and unsupported when

 ACV gummies were Goli Nutrition’s only product, now lack even a shred of credibility. In

 recognition of this fact, GOLO has embarked upon a calculated attempt to create the false

 impression that it is no longer just a diet plan company catering to consumers seeking to lose

 significant amounts of weight, as further discussed below.

 IV.    GOLI NUTRITION’S ADVERTISING

        65.    In addition to its innovative products, Goli Nutrition’s advertising and marketing

 campaigns have catapulted it to success in the market for nutritional supplements and has

 contributed to the Goli brand becoming recognized as a leading premium wellness brand.

        66.    Unlike companies that focus on restrictive diets and eliminating certain foods to

 attain rapid weight loss, Goli Nutrition embraces a holistic view of wellness and is committed to

 providing innovative products that make taking daily supplements simple and delicious. Goli
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 Nutrition’s products are formulated to provide nutrients for a variety of health benefits given that

 consumers have different nutrition goals and ideas about how it looks and feels to be healthy.

 These values are reflected in Goli Nutrition’s advertisements, which are targeted to the general

 population and feature diverse individuals.

        67.     Additionally, Goli Nutrition is committed to advancing evidence-based advertising

 claims highlighting the exceptional ingredients in its products by describing the role of a nutrient

 or dietary ingredient intended to affect the normal structure or function of the human body.

        68.     Goli Nutrition employs unique and eye-catching imagery to markets its products,

 typically featuring bold and pronounced colors. Goli Nutrition also incorporates text into its ads

 using arrows to point out different aspects of its products and icons or bullet points listing the

 benefits of the ingredients in its supplements. This is shown, for example, in the following excerpts

 from Goli Nutrition’s webpage, https://goli.com/:




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        69.     Goli Nutrition advertises its products on social media platforms, including

 Instagram and Facebook.       The following examples of Goli Nutrition’s social media ads

 demonstrate how Goli Nutrition highlights the benefits of the ingredients in its products using eye-

 catching imagery and designs:




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        70.     Goli Nutrition’s social media advertising has been a resounding success. As of

 January 30, 2022, the company had 500,010 followers on Instagram and 853,654 likes on

 Facebook.

        71.     Goli Nutrition also advertises its products using a Brand Ambassador program.

 Social media users who agree to Goli Nutrition’s terms and conditions for the Brand Ambassador

 program receive a unique discount code that they can share with their followers to earn

 commissions on sales made using the discount code. Goli Nutrition provides detailed guidance to

 Brand Ambassadors to ensure that their ads accurately reflect Goli Nutrition’s brand messaging

 and other requirements. Goli Nutrition regularly monitors ads posted by Brand Ambassadors and

 engages with ambassadors and/or social media platforms to have non-complying ads modified or

 removed.

        72.     Goli Nutrition has achieved success as a result its partnerships with celebrities and

 other high-profile influencers.

 V.     GOLO’S DIET PROGRAM

        73.     As GOLO itself puts it, “GOLO was started in 2009 with one goal in mind – to find

 a solution to why people can’t lose weight or keep it off.” See Exhibit 3, at 1. (emphasis added).

        74.     GOLO touts this singular focus throughout its website, frequently referring to its

 offerings as “diet” and “weight loss” products. See, e.g., id. (“GOLO was developed to find a

 natural and effective weight loss solution”); id. (claiming, without citation or proof, that “[i]n 2016,

 GOLO was the ‘most searched’ diet according to GOOGLE.”); id. (referring to GOLO as “a

 holistic system that addresses weight loss on a multi-dimensional level”).

        75.     This Court has described GOLO and its products, including Release, in similar

 terms. See ECF 62 at 2 (referring to the Release pill as a “diet pill”); id. at 9 (“[GOLO’s] website



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 homepage immediately touts the GOLO product’s ability to aid in weight loss.”); id. at 24

 (“[GOLO’s] weight loss product competes with other diet plans.”) (emphasis added).

        76.     Like other diet companies that compete with GOLO, such as Weight Watchers or

 Jenny Craig, GOLO sells a diet program. The GOLO program includes a meal plan, the Release

 pill, and a booklet with information related to dieting, weight loss, and weight control.

        77.     On information and belief, GOLO manufactures, markets, promotes, advertises,

 offers for sale, sells and/or distributes its diet program and other products in United States

 commerce through its website and customer service department exclusively, using a combination

 of Internet, television, radio, print and digital marketing.

        78.     Release is the only product for sale on GOLO’s “Shop GOLO” webpage, a true and

 correct copy of which is attached hereto as Exhibit 4. According to GOLO’s “Shop GOLO”

 webpage, one bottle of Release costs $59.95 and will cause the consumer to lose 10-20 pounds,

 two bottles of Release costs $99.90 and will cause the consumer to lose 21-40 pounds, and three

 bottles of Release costs $119.85 and will cause the consumer to lose 41-60 pounds:




                                            (Exhibit 4, at 3.)



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        79.       According to the Supplement Facts panel for Release, one Release capsule contains

 15 mg of magnesium, 10 mg of zinc, 70 mg of chromium, and 297 mg of a proprietary blend of

 rhodiola extract, inositol, berberine extract, gardenia extract, banaba extract, salacia extract, and

 apple extract.    The other ingredients listed on the label are vegetable cellulose, rice fiber,

 magnesium stearate (vegetable), and silica.




                                               (Exhibit 2, at 2.)




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         80.    On information and belief, none of the listed ingredients in Release has been shown

 to improve weight loss.

         81.    Until around December 30, 2020, GOLO sold its Release diet pills on Amazon.

 According to the Amazon customer review webpage for GOLO’s Release product, a true and

 correct copy of which is attached hereto as Exhibit 5, majority of the 810 customers who rated

 Release on Amazon (53%) gave the product a rating of three or less stars, with 24% giving a one-

 star rating:




                                         (Exhibit 5, at 1.)

         82.    In the “Top critical review” on Amazon, the consumer stated: “The [Release] pills

 don’t seem to do anything,” and GOLO’s diet program “basically tells you to eat healthy and

 exercise twice a week.”




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                                          (Exhibit 5, at 1.)

        83.     Consumers who purchase Release through the “Shop Golo” webpage receive the

 “GOLO Metabolic Solution,” “myGOLO,” and “Overcoming Diet Obstacles” products for no

 additional cost. Although GOLO represents to consumers that these additional products are worth

 $50.00, $199.00, and $30.00, respectively, on information and belief, GOLO does not sell these

 products separately or at the represented values:




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                                         (Exhibit 4, at 3-4.)

        84.     The “GOLO Metabolic Solution” product, which GOLO advertises as being a

 $50.00 value, is a diet meal plan that provides guidance on “CREATING GOLO MEALS.” See

 Exhibit 6.

        85.     The “Overcoming Diet Obstacles” product, which GOLO advertises as being a

 $30.00 value, contains information related to dieting, weight loss, and weight control.

        86.     The “myGOLO” product, which GOLO advertises as being a $199.00 value, is

 advertised as a “GOLO support community” where consumers can “[g]et the latest recipes, meal

 plans, community support, coaching and so much more.” See Exhibit 7, at 1.

        87.     Consumers who purchase Release through the “Shop Golo” webpage are prompted

 to activate their “free” myGOLO membership. The myGOLO membership gives consumers

 access to additional webpages not available to the general public, including a “myGOLO Shop”

 webpage which GOLO claims has “Exclusive Member Pricing” for additional GOLO products.

 See Exhibit 8, at 1.

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        88.       On the “myGOLO Shop” webpage, GOLO sells Release under a heading for

 “SUPPLEMENTS” along with a product called “GOLO Go-Digest,” which GOLO began selling

 in or around August 2021. GOLO claims it created Go-Digest to “help you optimize digestion,

 weight loss and an improved quality of life.” See Exhibit 9 Additionally, GOLO claims that “[t]he

 Go-Digest ingredients have been shown to: [1] Support healthy gut function and normal digestion;

 [2] Support for food sensitivities and intolerances; [3] Promote digestive health; [4] Stimulate

 healthy microflora balance in the gut; [5] Promote a healthy GI tract; [6] Support bowel regularity

 and normal bowel movements; and [7] Helps protect against occasional constipation and diarrhea.”

 See Exhibit 9.

        89.       Under the heading for “HEALTHY EATING” on the “myGOLO Shop” webpage,

 GOLO sells its “Metabolic Plan” for $19.95 (even though it values this product at $50.00 on its

 “Shop GOLO” webpage), along with a “Super Foods Essentials Starter Kit” and “GOLO Recipe

 Book.” See Exhibit 8. In addition to a 22-page booklet titled “Super Foods Essentials” and a 35-

 page booklet titled “starter kit cooking instructions”, the contents of the “Super Foods Essentials

 Starter Kit” consist of various pantry staples including:

                  (1) 8 fl. oz. bottle of GOLO® for Life® Organic Apple Cider Vinegar

                  (1) 8.45 fl. oz. bottle of GOLO® for Life® Organic Extra Virgin Olive Oil

                  (1) 8.45 fl. oz. bottle of GOLO® for Life® Organic Avocado Oil

                  (1) 5 fl. oz. of Organic GOLO® for Life® Coconut Aminos

                  (2) 8 fl. oz. cartons of Pacific Foods Organic Vegetable Broth

                  (1) 4 oz. bottle of GOLO® for Life® Sea Salt

                  (1) Green plastic measuring cup (4 oz. round) with GOLO for life® on handle

                  (1) Blue plastic tablespoon and teaspoon “National Measure”



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                 (1) 8 oz. package of GOLO® for Life® Organic Green Lentils

                 (1) 8 oz. package of GOLO® for Life® Organic White Quinoa

                 (1) 16 oz. package of GOLO® for Life® Organic Mung Beans

                 (1) 16 oz. package of GOLO® for Life® Organic Long Grain Brown Rice

 See Exhibit 10.

         90.     On information and belief, GOLO did not begin selling bottles of apple cider

 vinegar as part of its “Super Foods Essentials Starter Kit,” or in any other matter, until long after

 Goli Nutrition asserted that GOLO’s claims against Goli Nutrition in this action lack merit in part

 because GOLO does not sell any product containing ACV, and until after this Court noted that

 GOLO sold no ACV products in its order denying GOLO’s request for a preliminary injunction.

 GOLO’s decision to start selling a product with ACV years after it initiated this action against Goli

 Nutrition, undermines the credibility of GOLO’s alleged concerns about consumer confusion and

 its alleged motivations for initiating this lawsuit.

         91.     Under the heading for “FITNESS” on the “myGOLO Shop” webpage, GOLO sells

 the “AeroTrainer,” which it describes as an “ergonomically contoured, 2-sided and inflatable

 exercise platform that helps you get into perfect form for safe and effective workouts,” and the

 “Perfect 5,” which GOLO describes as a “unique resistance band system that uses a combination

 of dynamic burst exercises to help you build endurance and lean body mass.” See Exhibit 9, at 4-

 5.

         92.     Under the heading for “ACCESSORIES” on the “myGOLO Shop” webpage,

 GOLO sells a unisex “GOLO T-Shirt” and a “GOLO Water Bottle.” See Exhibit 8, at 5-6.

         A.      GOLO’s Shifting Marketing Model

         93.     On information and belief, GOLO has seen a further downturn in its already

 lackluster business in recent years as a result of the substantial consumer shift away from
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 companies which focus exclusively on weight loss, like GOLO, to companies offering products

 which comprehensively support overall health, like Goli Nutrition. There is a waning market

 demand for diet products, like those sold by GOLO. The real emphasis for modern consumers is

 now on health.

        94.       GOLO is therefore attempting to rebrand its failing business as a “health and

 wellness” company, like Goli Nutrition, and to reframe the Release diet pills it previously

 marketed as weight loss pills as “nutritional supplements,” which will provide consumers with a

 host of benefits, including certain of the benefits actually delivered by Goli Nutrition’s products.

 In doing so GOLO, advances advertising claims that are false, misleading, and/or unsubstantiated.

 On information and belief, part of GOLO’s motivation in advancing such advertising claims is to

 manufacture support for the claims asserted against Goli Nutrition in GOLO’s Amended

 Complaint in this lawsuit and to cause injury to Goli Nutrition’s reputation and standing in the

 marketplace.

        95.       For example, GOLO previously advertised the Release pill exclusively as a weight

 loss product, specifically “[a] patented, insulin-controlling supplement designed to restore insulin

 performance, curb hunger cravings, and stop fat storage so you can lose weight and keep it off.”

 See Exhibit 1, at 2. On information and belief, weight loss was the primary advertised benefit of

 the Release pills until at or around the time GOLO initiated its lawsuit against Goli Nutrition.

        96.       More recently, GOLO has altered its advertising of the Release pills to promise a

 host of additional benefits, claiming that “the ingredients in Release have the unique ability to

 support multi-dimensional therapeutic benefits including: Increased energy and reduced fatigue;

 Healthier immune function; Reduced hunger and cravings; Balanced blood sugar and insulin

 levels; [and] Reduced stress levels and anxiety.” See Exhibit 2, at 1.



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        97.     On information and belief, GOLO’s motivations for altering its advertising and

 marketing of the Release pills in this fashion are twofold. First, GOLO altered its advertising for

 purposes of this lawsuit, in order to create the false perception that its products compete with those

 sold by Goli Nutrition when in fact they do not.

        98.     Second, GOLO has altered its advertising of Release pills because its promotion of

 a diet pill no longer appeals to consumers who are increasingly concerned with achieving better

 nutrition, health, and wellness over losing weight and dieting.

        99.     GOLO now seeks to mimic Goli Nutrition’s advertising, including by claiming that

 its Release pills provide the same type of health and wellness benefits that are provided by the

 high-quality, substantiated ingredients used to formulate Goli Nutrition’s products. However, the

 claims are not substantiated as to GOLO’s Release pills, and therefore, GOLO’s advertising claims

 are false and/or misleading whereas Goli Nutrition’s are not. By mimicking Goli Nutrition’s

 advertising and mischaracterizing its products as similar or equivalent to Goli Nutrition’s products,

 GOLO is falsely suggesting to the marketplace that Goli Nutrition’s products are like GOLO’s

 failed products, thereby damaging Goli Nutrition’s reputation and impeding Goli Nutrition’s

 continued success in the marketplace.

        100.    GOLO has also changed its product packaging to model it after Goli Nutrition’s

 packaging. What GOLO refers to as its “historic” packaging (see Complaint at ¶ 77) - which was

 in use until long after the time GOLO filed this lawsuit and Goli Nutrition’s April 2019 launch -

 featured prominent use of the word “Release,” a nearly all-white bottle, with small splashes of

 color, and a very small image of the word GOLO in the lower corner of the product label. Long

 after filing this lawsuit, GOLO greatly enlarged and moved the word GOLO to the top and center

 of the product label, copying the placement of the Goli mark on bottles of Goli Nutrition products,



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 and added large blocks of color to the label, again employing design elements found in Goli

 Nutrition’s branding.

     GOLO Release Bottle,           GOLO Release Bottle,

     Launch to Spring 2021          Spring 2021 to Present




        101.   Prior to filing this lawsuit GOLO’s advertising emphasized the utility of its

 products in weight loss, as shown, for example, in the below GOLO advertisement pre-dating this

 lawsuit:




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        102.   More recently, and in particular since filing this lawsuit, GOLO has shifted its

 branding to promise that its products will more generally deliver “health” and “happiness,” as

 shown, for example, in the below post-suit GOLO advertisement:




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         103.    GOLO has also copied the look and feel of Goli Nutrition’s social media ads. Prior

 to filing this lawsuit, GOLO used social media ads like the following examples to promote its

 Release diet pill:




         After filing this lawsuit, GOLO began advertising Release on social media using ads that

         mimic the look and feel of Goli’s social media ads, as shown in the examples below.




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        104.    Instead of its prior messaging, which focused primarily on Release as a weight loss

 product, GOLO now mimics Goli Nutrition’s core health and wellness messaging by suggesting

 that Release is “all natural” and “plant & mineral based,” and now, contrary to its prior marketing,

 suggests “no conventional dieting necessary.”

        105.    That GOLO would attempt to remodel its business and packaging after Goli

 Nutrition in this fashion is telling.   Not only has GOLO suffered a preliminary failure in


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 establishing that the parties compete, where GOLO’s products have floundered and failed to gain

 traction with consumers, Goli Nutrition has achieved a high degree of commercial success since

 its launch in 2019.




 For example, according to the Amazon customer review page for Goli Nutrition’s ACV gummies

 (reproduced above), 74% of the 318,562 customers who have rated Goli Nutrition’s ACV gummies

 gave the product a five-star rating, and just 15% of reviewer gave the product a rating of less than

 four stars.

         B.     GOLO’s Manufactured and Baseless Claims Against Goli Nutrition

         106.   As its weight loss business has declined, GOLO has increasingly devoted its time

 and energies to pursuing litigation, whether by manufacturing the instant litigation against a more

 successful company whose success it aspires to emulate.

         107.   GOLO has also made the foregoing changes to its advertising to manufacture

 baseless claims against Goli Nutrition, a far more commercially successful company, gain an

 unfair advantage in the market it aspires to enter, improperly interfere with Goli Nutrition’s




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 success, diminish its unique brand presence and its strong reputation in the marketplace, and cause

 damage to Goli Nutrition.

        108.    On June 9, 2020, GOLO sought a preliminary injunction against Goli Nutrition in

 this action to enjoin Goli Nutrition from use of its “Goli” trademark. The parties submitted an

 extensive evidentiary record and briefing and appeared for argument before this Court on August

 14, 2020.

        109.    On September 1, 2020, this Court denied GOLO’s motion in full, finding that

 GOLO was not likely to succeed on the merits of its claims because every confusion factor favored

 Goli Nutrition and that GOLO failed to establish irreparable harm. Integral to the Court’s opinion

 were several findings regarding the lack of competition between the parties, in particular that

 GOLO and Goli Nutrition do not “directly compet[e]” and describing the similarities between the

 parties’ products as “broadly relat[ing] to weight management, just as one might say that

 motorcycles and bicycles both relate to transportation.” GOLO, LLC v. Goli Nutrition Inc., No.

 CV 20-667-RGA, 2020 WL 5203601, at *3 (D. Del. Sep. 1, 2020).

        110.    Several days before this Court issued its decision denying GOLO’s request for a

 preliminary injunction, GOLO filed a motion for leave to amend its complaint to add false

 advertising claims. In its proposed amended complaint, GOLO asserted that the parties directly

 compete.

        111.    Goli Nutrition opposed GOLO’s motion to amend, arguing, inter alia, that GOLO

 lacked the requisite standing to sue Goli Nutrition for false advertising because the parties do not

 compete and thus any advertising for Goli Nutrition’s products could not possibly harm GOLO.

        112.    GOLO’s allegations of harm were particularly specious because GOLO itself

 admitted that it was only aware of the allegedly false or misleading advertising claims because of



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 allegations in a proposed class action complaint filed against Goli Nutrition in the Eastern District

 of California, which complaint has since been dismissed.

        113.    After GOLO’s motion was fully briefed but before this Court had ruled on it, GOLO

 abruptly withdrew its motion and filed that same day a separate action in the U.S. District Court

 for the Central District of California exclusively asserting false advertising claims (the “California

 Action”).

        114.    Goli Nutrition moved to dismiss, stay, or transfer the California Action (the “First-

 to-File Motion”) and moved to dismiss the California Action pursuant to Rules 12(b)(1) and

 12(b)(6), arguing, inter alia, that GOLO’s false advertising claims should be dismissed because

 GOLO lacked standing under the Lanham Act and Article III of the U.S. Constitution.

        115.    On July 30, 2021, the district court in the California Action granted the First-to-

 File Motion and stayed the case pending resolution of this action.

        116.    GOLO then filed a second motion for leave to amend in this action, again asserting

 the false advertising claims that it had raised in the California Action but now adding new factual

 allegations, including allegations that attempt to paint GOLO as not just a weight loss program

 with a diet pill (Release) but more of a health and wellness brand like Goli Nutrition. On

 information and belief, such allegations were intended to refute Goli Nutrition’s arguments

 challenging GOLO’s standing. In its reply brief, GOLO argued it was not required to “establish”

 anything at this stage of the proceeding, and that it’s allegations of competition and harm were

 sufficient to confer standing. The Court granted GOLO’s motion to amend, determining that

 GOLO had standing to pursue its claims.

        117.    This is not the first time that GOLO has employed litigation for the purposes of

 interfering with the business of a commercially successful company like Goli Nutrition and trying



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 to artificially enhance the reputation of GOLO’s products in order to obtain a commercial

 advantage.

        118.    GOLO has a history of asserting dubious claims for false advertising and unfair

 competition under the Lanham Act against its perceived competitors. For the past number of years,

 GOLO has employed a litigation strategy of suing its competitors (actual and perceived) alleging

 various novel and undeveloped theories of trademark infringement relating to its competitors’ use

 of Search Engine Optimization that GOLO contends unlawfully diverts its potential customers.

        119.    On information and belief, GOLO is not genuinely concerned with promoting truth

 in advertising or advancing the legitimate purposes of the Lanham Act; rather, and because

 GOLO’s products have not achieved significant commercial success on their own merits, GOLO

 uses the legal system, and the Lanham Act in particular, to go after those who criticize the efficacy

 of GOLO’s weight loss products in an effort to artificially enhance the poor reputation of its

 products and gain a commercial advantage.

        120.    For example, in April 2017, GOLO filed a complaint against DietSpotlight, LLC,

 and Green Bracket, LLC., asserting false advertising and unfair competition claims under the

 Lanham Act. A true and correct copy of the complaint from that proceeding is attached hereto as

 Exhibit 11. In the complaint, GOLO identified itself as a “weight loss program…which aids

 people all over the world in achieving their weight loss goals.” Exhibit 11 at 2. GOLO also

 identified the defendants in that action, who offer diet and weight-loss products, as “competitors

 of GOLO’s in the diet and weight loss industry.” Id. at 4. GOLO alleged that the defendants

 published a review of GOLO’s diet plan on their website which contained misleading, false, and

 defamatory statements and testimonials that were fake, inaccurate, and/or mischaracterized. Id. at




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 12-13. GOLO further alleged that defendants’ actions were intended to give their own products a

 competitive advantage. Id. at 14.

        121.    In July 2017, GOLO filed a complaint against ZoCo Productions, LLC, Harpo

 Productions, Inc., Mehmet Oz, M.D. (“Dr. Oz”), and Keri Glassman, asserting false advertising

 and unfair competition under the Lanham Act. A true and correct copy of the complaint from that

 proceeding is attached hereto as Exhibit 12. In the complaint, GOLO identified itself as a “leading

 weight loss program” and a “top-searched diet on Google in 2016.” Id. at 9. GOLO alleged that

 Dr. Oz and Ms. Glassman had competing health-related enterprises and did not disclose their

 conflicts of interest before publishing a review of GOLO’s diet plan on the Dr. Oz website and

 television show. Id. at 7-8.   The parties reached an undisclosed settlement, and thereafter, in or

 around April 2019, GOLO was featured in a positive light on an episode of the Dr. Oz show. In a

 press release, GOLO’s President stated: “We are excited that GOLO has the opportunity to detail

 our healthy approach to weight loss and better health with Dr. Oz. We have worked very hard for

 over nine years to develop a safe, affordable, and effective way to lose weight without conventional

 dieting.” Exhibit 13. It therefore appears that, by filing this lawsuit, GOLO strongarmed the Dr.

 Oz show into airing a positive segment on GOLO’s diet plan, even though Dr. Oz’s initial review

 of GOLO’s diet plan was not positive.

        122.    In September 2017, GOLO filed an action against Highya, LLC and

 BrightReviews, LLC, asserting false advertising and unfair competition claims under the Lanham

 Act. A true and correct copy of the initial complaint from that proceeding is attached hereto as

 Exhibit 14. GOLO again identified itself in this case a “a leading weight loss and wellness

 program.” Id. at 2. GOLO alleged in this suit that the defendants used their product review

 websites to publish fake, negative reviews about GOLO’s diet program to give the defendants’



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 products a competitive advantage in the marketplace. Id. at 16-17. The Court ultimately dismissed

 the suit with prejudice because GOLO failed to state a claim for false advertising, trademark

 infringement, or trade libel. Exhibit 15. In its supporting memorandum, the Court mentioned

 GOLO’s “Release Supplement” only once and instead referred to GOLO’s product as the “GOLO

 program” or “GOLO’s dieting program”. Id. at 1, 3-4, 8, 11-13. The Court expressly rejected the

 allegation that GOLO’s diet program is a competing product to exercise equipment. Id. at 12.

 Indeed, the Court considered whether GOLO plausibly plead its Lanham Act claims and expressly

 noted that the initial Complaint “barely made” the necessary allegation and that GOLO’s Amended

 Complaint “ma[de] a weak attempt to assert such a claim.” Id. at 11. On information and belief,

 GOLO began selling exercise equipment after this lawsuit was filed, in part because it sought to

 avoid dismissal of future lawsuits of this nature.

        123.    In October 2018, GOLO filed its First Amended Complaint against Higher Health

 Network, LLC, and Troy Shanks, asserting false advertising and unfair competition claims under

 the Lanham Act against the defendants, who had published a negative review of GOLO’s diet plan.

 A true and correct copy of the First Amended Complaint from that proceeding is attached hereto

 as Exhibit 16. GOLO identified itself in this case as “a leading weight loss and wellness program”

 which “promotes weight loss with a three-tier solution of dietary modification, lifestyle change…,

 and nutraceutical supplementation.”      Id. at 2-3.    GOLO alleged that it competed with the

 defendants in the “diet and weight-loss industry.” Id. at 4. GOLO’s allegations of harm included

 that the defendants published a false and misleading review about the GOLO diet plan for their

 own competitive advantage. Id. at 13-14.             The Court dismissed GOLO’s First Amended

 Complaint due to its failure to allege false representations on the Lanham Act causes of action.

 Exhibit 17. GOLO then took another bite at the apple and filed a Second Amended Complaint in



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 February 2019. Exhibit 18. The matter settled before that Second Amended Complaint could be

 tested. Exhibit 19.

        124.    It is telling that, in these prior lawsuits (as well as other lawsuits not discussed

 herein), GOLO consistently described its products as weight loss products and identified its

 competitors as others engaged in the sale of diet plans and other weight loss specific products.

 Only after initiating this lawsuit against Goli Nutrition, as part of its improper scheme to

 manufacture justiciable causes of action against Goli Nutrition for false advertising and unfair

 competition, and to cause reputational injury and harm to Goli Nutrition in the process, has GOLO

 rebranded itself as a “health and wellness” company that sells a “dietary supplement” intended to

 provide many other health benefits, not only weight loss. In reality, GOLO is and always has been

 a diet plan and weight loss company, just like it has alleged itself to be in its many other litigations

 and throughout its marketing and other literature.

        125.    As noted above, GOLO’s practice of changing its business model in order to

 enhance its litigation positions is not new. Just as GOLO started selling exercise equipment after

 its complaint was dismissed in part because it did sell such goods, here, GOLO is trying to rebrand

 itself as a supplements company when in fact it is a weight loss company that sells a weight loss

 program.

        126.    GOLO’s litigation history demonstrates its true motive in filing suit against Goli

 Nutrition. Unable to achieve commercial success anywhere close to that which Goli Nutrition has

 achieved as a result of its innovative and in-demand products, GOLO has turned to the courts once

 again, trying to use the legal system as a sword against their perceived commercial adversary with

 the goal of significantly harming Goli Nutrition’s reputation in the industry and with its customers

 and prospective customers.



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                    GOLO’S FALSE AND MISLEADING ADVERTISING

        127.    GOLO makes numerous false and misleading representations regarding the nature,

 characteristics, and/or properties of GOLO’s diet program and weight loss products.

        128.    Among the most serious of GOLO’s false and misleading claims are its claims that

 its products, including Release, can mitigate, treat, cure, or prevent disease. The FDA does not

 permit the use of disease claims such as these in connection with advertising for a dietary

 supplement.

        129.    The FDA defines “disease” as “damage to an organ, part, structure, or system of

 the body such that it does not function properly (e.g., cardiovascular disease), or a state of health

 leading to such dysfunctioning (e.g., hypertension); except that diseases resulting from essential

 nutrient deficiencies (e.g., scurvy, pellagra) are not included in this definition.” 21 C.F.R. §

 101.93(g).

        130.    Generally, a statement is a disease claim if it states explicitly or implicitly that the

 product:

                a       has an effect on a disease, a characteristic sign or symptom of a disease, or

                        an abnormal condition that is either uncommon or can cause significant

                        harm;

                b       has an effect on a disease by implication through, for example, the product

                        name, an ingredient in the product, citation to literature referencing a

                        disease or other product label details implying connection to a disease;

                c       is a substitute for, is similar to, or augments a product that does diagnose,

                        treat, or prevent a disease;

                d       has a role in the body's response to a disease; or



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                 e       treats, prevents, or mitigates adverse events associated with a therapy for a

                         disease, if the adverse events themselves constitute diseases.

         131.    GOLO describes Release as “the Natural Solution to Insulin Resistance” and claims

 that it “helps control insulin.” Exhibit 20, at 3; see also id. (“If you’re at risk of Insulin Resistance,

 GOLO has a natural solution to optimize your metabolism and help reverse Insulin Resistance,

 promote weight loss and improve your health — safely and quickly.”

         132.    Insulin, a hormone that the pancreas makes, allows cells to absorb and use glucose.

 In people with insulin resistance, the cells are unable to use insulin effectively.

         133.    When the cells cannot absorb glucose, or blood sugar, its levels build up in the

 blood. If glucose levels are higher than usual but not high enough to indicate diabetes, doctors call

 this prediabetes. Prediabetes often occurs in people with high insulin resistance.

         134.    In a person with prediabetes, the pancreas works increasingly hard to release

 enough insulin to overcome the body’s resistance and keep blood sugar levels down. Over time,

 the pancreas loses its ability to release insulin, and this can lead to the development of type 2

 diabetes.

         135.    Accordingly, insulin resistance is linked to prediabetes and type 2 diabetes.

         136.    Insulin resistance is also linked to vascular diseases, such as heart disease, kidney

 disease, Alzheimer’s disease, nd polycystic ovary syndrome (PCOS), among other diseases.

         137.    In fact, GOLO explicitly states that insulin resistance causes numerous diseases,

 including diabetes, heart disease, and Alzheimer’s:




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                                 (Exhibit 20, at 2)




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                                 (Exhibit 21, at 2)



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        138.     These claims are false and/or misleading because that state that GOLO’s products

 have an effect on specific diseases, as well as symptoms of those diseases.

        139.     GOLO even goes as far as providing a questionnaire to consumers to “diagnose”

 insulin resistance, implying that it’s products are a substitute for, is similar to, or augments a

 product that does diagnose, treat, or prevent diseases associated with insulin resistance




                                         (Exhibit 20, at 2-3)


        140.     Additionally, GOLO falsely implies that Release can be used to treat “metabolic

 dysfunction.”


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                                             See Exhibit 23.

        141.   A metabolic dysfunction occurs when the metabolism process fails and causes the

 body to have either too much or too little of the essential substances needed to stay healthy. A

 metabolic dysfunction can take many forms, including a disease in the liver, pancreas, endocrine

 glands, or other organs involved in metabolism. Therefore, by stating that its products “heal”

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 metabolic dysfunction, GOLO is advancing an impermissible disease claim by stating that is

 product has an effect on a disease or a characteristic sign or symptom of a disease. Additionally,

 the claim is an impermissible disease claim because it suggests that Release is a substitute for, is

 similar to, or augments a product that does diagnose, treat, or prevent diseases associated with

 metabolic dysfunction.

        142.    Furthermore, GOLO claims that Release will defend against “infectious illness and

 disease,” including “colds, flus and other serious illness.” See Exhibit 24. The clear implication

 from this advertising is that taking Release will prevent, treat, cure, or mitigate colds, flus, and

 other infectious illnesses and diseases, including SARS-CoV-2 (COVID-19).




                                          (Exhibit 24, at 1)

        143.    On information and belief, GOLO created its “Boosts Immunity” webpage in or

 around 2021 for the purpose of preying on consumers’ concerns regarding the ongoing COVID-

 19 pandemic by advancing unsubstantiated and impermissible claims that imply GOLO’s products

 are effective in treating, mitigating, curing, or preventing COVID-19. These false and misleading

 claims are particularly harmful because they have the tendency to encourage consumers to use




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 GOLO’s products instead of vaccines, treatments, and/or therapies which are proven effective in

 treating, mitigating, curing, or preventing COVID-19.

          144.   Additionally, GOLO impermissibly claims that its products can “avoid, reduce or

 eliminate” the need for consumers to take weight-related medications, as shown in the example

 below.




                                         (Exhibit 20, at 6)

 This is yet another example of the numerous unlawful disease claims being advanced by GOLO

 on its website. Such claims are also impermissible because, even if not disease claims, they are




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 qualified health claims that require pre-approval by FDA, which approval GOLO has not

 received.

        145.    GOLO also advances false and misleading claims in advertising the alleged benefits

 of its products, including claims that its products are “proven” or “clinically proven” to deliver

 certain benefits.

        146.    For example, on its homepage, a true and correct copy of which is attached hereto

 as Exhibit 20, GOLO claims, among other things, that “Release is clinically proven to enhance

 weight loss and improve key health indicators.”




        147.    On its “Boosts Immunity” webpage, a true and correct copy of which is attached

 hereto as Exhibit 24, GOLO claims, among other things, that the Release product is “proven” to

 “protect cells against the oxidative effect and cell damage caused by free radicals.”

        148.    Furthermore, GOLO claims that “Release is clinically proven to work” followed

 by, “several studies conducted between 2009 and 2018, showed:

                       79.9% More Weight Loss

                       206% More Inches Lost Around the Waist

                       67% of Participants are No Longer Pre-Diabetic

                       17.6% Lower Cholesterol

                       12.5% Lower Blood Pressure

                       33.9% Lower Triglycerides”




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                                             (Exhibit 20)

        149.    All such claims must be substantiated by competent and reliable scientific evidence.

 The FTC defines this as: “tests, analyses, research, studies, or other evidence based on the expertise

 of professionals in the relevant area, that have been conducted and evaluated in an objective

 manner by persons qualified to do so, using procedures generally accepted in the profession to

 yield accurate and reliable results.”

        150.    Competent and reliable scientific evidence typically requires randomized,

 controlled, double-blind studies that have been scrutinized by peer review during the publication

 process. The evidence must also be relevant to the claim, meaning the study endpoints must match

 the claim. Additionally, for a benefit to be advertised as “proven” or “clinically proven,” the




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 published results should be capable of being independently replicated by others using rigorous

 experimental design and data collection practices.

         151.    GOLO links to four studies on its website (together, the “Claimed GOLO Studies”).

 When viewed in their totality, the Claimed GOLO Studies do not substantiate the “clinically

 proven” and “proven” claims advanced by GOLO for at least the reasons discussed below.

         152.    GOLO funded each of the Claimed GOLO Studies and, on information and belief,

 participated in conducting each of the Claimed GOLO Studies. Therefore, the Claimed GOLO

 Studies have a high risk of bias.

         153.    In the Claimed GOLO Studies, the participants were instructed to follow the GOLO

 eating plan and GOLO exercise plan, in addition to supplementing with Release. Therefore, it is

 unclear whether the Release pill specifically caused weight loss or simply the combination of diet,

 exercise, and behavioral modifications resulted in weight loss. Although one of the Claimed

 GOLO Studies attempts to isolate the impact of Release by instructing both the intervention and

 control group to follow the GOLO diet program and supplementing the intervention group with

 Release whereas the control group was administered a placebo, the researchers did not monitor

 how closely study participants followed the meal plan and exercise restrictions. Specifically, the

 study does not indicate what the study participants ate or how much they exercised while

 participating in the study. It is therefore entirely plausible that the results of the intervention group

 and control group were due to how much the respective members ate and exercised, and not

 whether or not they received Release or the placebo. This design flaw also makes it impossible or

 impractical for others to independently replicate the published results.

         154.    The other Claimed GOLO Studies did not have placebo groups. See, e.g., Exhibit

 __ (“[T]he study was open-label and lacks the rigor of a double-blinded placebo-controlled



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 study.”) To be able to use a clinical study to substantiate an advertising claim, there must be a

 statistically significant different between the intervention group and the placebo group because

 this helps scientists assess whether study results are attributable to the intervention in question.

 Therefore, these studies cannot substantiate GOLO’s advertising claims.

        155.    The GOLO website refers to two studies that were published in journals. In the

 first of those studies, a researcher paid by GOLO purported to assess the effectiveness of the

 GOLO diet plan on measures of weight and glycemic control. See Exhibit __ at 1. The study

 lasted 13 weeks; only 16 out of 26 subjects completed the trial. See id. The study purported to

 find “statistically significant” reductions in weight and in “HOMA-IR, a measure of insulin

 resistance” in the 16 participants who completed the trial (however, the study did not find any

 “statistically significant” reductions in insulin levels). See id. However, the study included

 important qualifications which GOLO does not make clear to consumers in its advertising and

 representations to consumers, including that weight loss and improvement in glycemic control

 occurred only when the GOLO weight program and Release pills were “added to standard anti-

 diabetic medications.” Id. at 5 (emphasis added).

        156.    GOLO falsely states or implies in advertising that in all studies, published or not,

 the Release pill is clinically proven to have caused the results reported in those studies. This claim

 is unsubstantiated. While every study mentioned caloric intake, they did not report comparative

 data, either within subjects when there was no control group, or between groups when there was.

 This reflects poor research methodology and statistical analysis.

        157.    None of the Claimed GOLO Studies prove that the Release pill helped reduce

 insulin levels, blood glucose levels, or HOMA-IR, a measure of insulin resistance. Indeed, at least

 one of the studies explicitly noted that there were no “statistically significant” reductions in insulin



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 levels. See Exhibit __ at 1. Multiple confounding factors were not examined in the studies. For

 example, there is no information regarding how well the study participants met the dietary

 guidelines, even though it is widely known that caloric intake is one of the most important factors

 for weight loss. As noted above, this design flaw is significant, and the results of the Claimed

 GOLO Studies do not credibly indicate that Release was responsible for the measured results. It

 is more plausible that the results of the studies were caused by how closely the study participants

 followed the calorie restriction and exercise recommendations that are part of the GOLO diet

 program.

        158.    Additionally, in each study, the changes in HbA1c do not provide meaningful

 benefits to consumers. On information and belief, reducing HbA1c by 0.18% and 0.61%, as was

 shown in the studies, is within the margin of error attributed to the method employed by the

 researchers.

        159.    Additionally, the reduction in blood sugar in every trial where it was measured

 could be explained by exercise, which the researchers also did not account for in the analysis.

 Exercise can modify insulin resistance by the third time an individual works out.

        160.    Furthermore, each of the Claimed GOLO Studies lost up to 40% of their subjects.

 This significant loss of subjects was acknowledged by the authors of the Claimed GOLO Studies,

 but they did not explain its impact on those Studies.

        161.    GOLO ingredient-focused claims are also false and/or misleading. For example, on

 the “FAQ” page of the GOLO website, a true and correct copy of which is attached hereto as

 Exhibit 27, GOLO claims that “there are over 100 published independent experimental studies

 supporting the safety and efficacy of the ingredients in Release.” On information and belief,

 GOLO does not have competent and reliable scientific evidence showing that the amounts of the



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 ingredients in a recommended daily dosage of Release support any of the weight loss and/or health

 and wellness benefit claims, disease claims, and/or qualified health claims that GOLO advertises.

        162.   GOLO also makes false and/or misleading claims about the weight loss consumers

 can expect to experience taking Release. One bottle of Release has 90 capsules, and GOLO

 recommends taking one capsule with each meal, three times per day. Therefore, one bottle of

 Release lasts approximately one month. As shown below, GOLO claims that consumers taking

 Release can expect to lose 10-20 pounds in one month, 21-40 pounds in two months, and 41-60

 pounds in three months, without competent and reliable data to support such numbers.




                                         (Exhibit 4, at 4)

        163.   The weight loss GOLO claims consumers will experience is not typical of the

 average consumer taking Release, particularly if the consumer does not follow the other parts of

 GOLO’s diet program. Furthermore, competent and reliable scientific evidence does not exist to

 substantiate GOLO’s weight loss claims.




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        164.   In fact, GOLO’s advertising explicitly states that consumers do not need to “diet,”

 even though healthy eating and calorie restrictions are an integral part of the GOLO diet program

 and the clinical studies cited on GOLO’s website.




                                         (Exhibit 4, at 2)
        165.   GOLO also misleads consumers by advertising testimonials who allegedly

 achieved results from using GOLO’s products which are not typical. To avoid such testimonials

 from misleading consumers, the advertisement should clearly and conspicuously disclose the

 generally expected performance in the depicted circumstances, and the advertiser must possess

 and rely on adequate substantiation for that representation. GOLO’s advertisements do not include

 appropriate disclaimers. For example, on the homepage of GOLO’s website it includes the

 following testimonials:




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                                     (Excerpts from Exhibit 20)
        166.    Although some of the above testimonials include an asterisk suggesting they may

 be qualified by a disclaimer, a disclaimer does not appear in close proximity to any of the above

 testimonials. A consumers must scroll to the very bottom of the webpage to find the following

 disclaimer which is printed in tiny text




                                            (Exhibit 20, at 10)




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        167.    GOLO further misrepresents the experiences of consumers who have tried the

 GOLO diet plan by advancing the following additionally exemplary advertising claims which are

 false, misleading, and/or unsubstantiated:

        a.      According to GOLO’s “Proven Success” webpage, a true and correct copy of which

 is attached hereto as Exhibit 28, over 2 million consumers have experienced “sustainable” weight

 loss and improved their health simply by following the GOLO diet plan;




                b.     According to the GOLO website’s landing page, a true and correct copy of

 which is attached hereto as Exhibit 20, every week, over 20,000 new consumers “switch to”

 GOLO’s diet plan; and

                c.     According to the “Shop GOLO” webpage, at GOLO has received 16,000+

 independent reviews from customers, with 91% of customers giving a five-star rating. See

 https://www.golo.com/pages/reviews.

        168.    On information and belief, these claims are false and/or misleading because,

 among other things, GOLO does not receive information from each of its customers who have

 purchased the GOLO diet program reporting changes in their weight and/or improvements in their

 health and/or the length of time the customer followed the GOLO diet and/or how closely they

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 followed the GOLO diet, and therefore, GOLO cannot verify or confirm that two million unique

 customers who have purchased its products experienced “sustainable” weight loss and improved

 their health simply by following the GOLO diet program. Additionally, on information and belief,

 there are not 20,000 individuals each week who purchase the GOLO diet program for the first time

 and/or GOLO does not have adequate controls in place to determine whether or not a customer is

 a first-time customer. Furthermore, other review aggregators on websites which GOLO does not

 control, such as the Amazon webpage discussed above and the TrustPilot webpage available at

 https://www.trustpilot.com/review/golo.com, show far worse customer ratings for GOLO’s

 products than what GOLO shows on its website. This suggests that the customer reviews and

 ratings published on GOLO’s website have been manipulated and/or selected to artificially

 enhance the reputation of GOLO’s products.

        169.    Additionally, GOLO claims that Release causes “no unpleasant side effects.” See

 Exhibit 20. This is false. Customers have reported experiencing numerous negative side effects

 as a result of taking Release, including but not limited to headaches, stomach cramps, gas, bloating,

 fatigue, dizziness and heart palpitations. A representative sample of such reports, true and correct

 copies of which are attached hereto as Exhibits 5, 29-30 are reproduced below.




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 See Exhibit 29, at 7.




 See Exhibit 5, at 2.




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 See Exhibit 30, at 2.

        170.    GOLO also makes false, misleading, and/or unsubstantiated claims about GOLO’s

 AeroTrainer “exercise bean,” including but not limited to the following:

                d.       Consumers can lose inches off their waist by using the AeroTrainer for just

 seven days.




 https://aerotrainer.com/.

                e.       Consumers can “strengthen immunity,” “increase energy,” and “lose weight

 and inches” by completing “simple 5-10 minute workouts” on the AeroTrainer.




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 https://aerotrainer.com/.

                f.      The AeroTrainer can be used to treat and prevent back pain.




 https://aerotrainer.com/.

                g.      Consumers can easily transform their body using the AeroTrainer.

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                h.      Consumers can lose weight and get healthier by using the AeroTrainer, even

 without any modification to their diet.

                i.      Consumers who use the AeroTrainer will improve their ability to play

 golf.

         171.   The above exemplary representations are false and/or misleading because they

 imply that consumers can achieve the advertised benefits without making any other lifestyle

 changes, such as eating healthy or reducing caloric intake, and by exercising for a short duration

 of time. Furthermore, on information and belief, GOLO does not have adequate substantiation for

 its claim that its exercise equipment can reduce back pain.

         172.   As GOLO’s CEO, Counter-Defendant Lundin, directs, authorizes, and approves

 GOLO’s marketing strategy, including GOLO’s creation and dissemination of the advertising

 claims discussed herein. See, e.g., Ex. 31 (“‘We designed the AeroTrainer as an affordable,

 versatile, core fitness exercise platform that can give you a full-body workout in as little as ten

 minutes a day,’ says Chris Lundin, CEO of GOLO. ‘It’s a great solution for home workout and


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 core fitness routines as it helps strengthen and stretch muscles, reduce back pain, decrease stress,

 and more.’”); Ex. 32 (listing Mr. Lundin as point of contact for GOLO on press release relating to

 one of the Claimed GOLO Studies).

        173.    On information and belief, Lundin was directly responsible for creating, approving,

 and/or disseminating each of the foregoing statements regarding the GOLO diet plan and/or

 GOLO’s weight loss products, including but not limited to the Release diet pill. GOLO’s “About

 Us” section of its webpage reflects that Mr. Lundin has over 30 years of experience in international

 sales, marketing and development that includes numerous successful campaigns including the

 Mini Max, Gold’s Gym Home Trainer, Ab Toner, Health Walker, Auto Bike, Profile Toner,

 LandRider and the Bean.

        174.    Lundin is personally liable for GOLO’s false and/or misleading statements

 regarding the nature, characteristics, and/or properties of GOLO’s products because, as GOLO’s

 CEO, he authorizes and directs the false and/or misleading statements described herein, and in

 many instances directly made the false statements himself. And upon information and belief, he

 has done so all the while knowing them to be false and/or misleading.

        175.    Counter-Defendants are working in concert with each other to convey the false

 and/or misleading statements described herein to consumers in an attempt to persuade them to buy

 GOLO’s products.

  GOLO’S FALSE AND/OR MISLEADING STATEMENTS MATERIALLY INFLUENCE
    CONSUMER PURCHASING DECISIONS, DECEIVE CONSUMERS, AND ARE
                       HARMING GOLI NUTRITION

        176.    Finding itself unable to keep up with the evolving shift in American attitudes that

 focus less on dieting and losing weight, GOLO has instead employed improper means to gain

 commercial advantage and has acted to hinder Goli’s growth and success, including by

 commencing this baseless litigation.
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        177.    GOLO’s false and/or misleading advertisements, marketing efforts or collateral,

 and/or oral representations outlined herein have directly caused and will continue to directly cause

 injury to Goli Nutrition’s goodwill and business reputation.

        178.    By mimicking Goli Nutrition’s advertising and mischaracterizing its products as

 similar or equivalent to Goli Nutrition’s products, GOLO is falsely suggesting to the marketplace

 that Goli Nutrition’s products are like GOLO’s failed products.

        179.    By mimicking Goli Nutrition’s advertising and mischaracterizing its products as

 delivering the same benefits as Goli Nutrition’s products, GOLO is falsely suggesting to the

 marketplace that Goli Nutrition’s products are like GOLO’s failed products.

        180.    While neither the parties nor their products do in fact compete, consumers may

 come to believe they do based upon GOLO’s false and misleading statements, particularly given

 that GOLO has altered the branding of its products to claim in a false and/or misleading manner

 that the Release pills offer many of the same benefits offered by Goli Nutrition’s products, and has

 even changed the packaging for Release to imitate Goli Nutrition’s product packaging. This has

 caused and will continue to cause harm to Goli Nutrition in at least the following ways.

        181.    Goli Nutrition has lost business opportunities and experienced reputational damage,

 and is likely to continue to lose partnership opportunities, as well as other business and investment

 opportunities as a result of GOLO’s false and/or misleading advertisements, marketing efforts or

 collateral, and/or oral representations about its Release diet pill and additional products, which

 falsely create the impression that GOLO’s products compete and/or deliver the same benefits as

 Goli Nutrition’s products - when they do not - to both manufacture justiciable causes of action

 against Goli Nutrition and its President, Mr. Bitensky, under the Lanham Act and Delaware




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  Deceptive Practices Act, and to cause harm to Goli Nutrition’s reputation and standing in the

  marketplace as a nutritional supplement industry leader.

         182.    GOLO’s false and/or misleading claims in advertising its Release diet pills and

  other GOLO products speak to the inherent qualities and characteristics of GOLO’s products, and

  specifically Release, namely the purported health and wellness benefits of taking Release and the

  ability of Release to treat, mitigate, cure, or prevent diseases or symptoms related to diseases.

         183.    GOLO’s false and/or misleading claims are material to consumers, partners, and

  endorsers who purchase dietary supplements and who are considering whether to purchase

  GOLO’s diet pill and/or to partner with and/or purchase Goli Nutrition’s products.

         184.    Goli Nutrition has been injured as a result of GOLO’s false and/or misleading

  advertisements, marketing efforts or collateral, and/or oral representations about the GOLO

  products.

         185.    Goli Nutrition has been injured as a result of GOLO’s false and/or misleading

  statements about GOLO’s products which were made to create the impression in the marketplace

  that GOLO’s products compete with and/or deliver the same benefits as Goli Nutrition’s products,

  when they do not, to both manufacture justiciable causes of action against Goli Nutrition and its

  President, Mr. Bitensky, under the Lanham Act and Delaware Deceptive Practices Act, and cause

  harm to Goli Nutrition’s reputation and standing in the marketplace as a nutritional supplement

  industry leader.

         186.    GOLO’s false and/or misleading representations of fact are likely to harm and

  diminish Goli Nutrition’s goodwill, business reputation and credibility in the trade and the demand

  for Goli Nutrition’s products because GOLO’s false and/or misleading representations assert

  expressly and/or impliedly that Goli Nutrition is not truthful in its advertising, Goli Nutrition’s



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  products provide the same benefits as GOLO’s products, Goli Nutrition intends to deceive

  consumers, and that Goli Nutrition’s products do not provide the benefits for which they are

  advertised.

         187.    GOLO’s false and/or misleading representations of fact are likely to harm and will

  inevitably harm and diminish Goli Nutrition’s goodwill, business reputation and credibility in the

  trade, and the demand for Goli Nutrition’s products by customers, endorsers, promoters and

  business partners.

         188.    On information and belief, GOLO’s false and/or misleading representations were

  made in bad faith and with intent to deceive the relevant consumers and with intent to harm Goli

  Nutrition.

                       GOLO’S INVALID TRADEMARK REGISTRATIONS

         189.    In its Amended Complaint, GOLO asserts ownership rights against Goli Nutrition

  of the following trademark registrations:

          Mark/Name/              Status/Key Dates               Full Goods/Services
          AN/RN
          GOLO                    Registered, August 28, 2018    Int'l Class: 25, 28
          RN: 5552578             Int'l Class: 25                (Int'l Class: 25)
          SN: 87978072            First Use: September 15,       Footwear; clothing, namely,
                                  2016                           shirts, pants, shorts, hoodies,
                                  Int'l Class: 28                jumpsuits, and hats
                                  First Use: January 1, 2017     (Int'l Class: 28)
                                  Filed: June 18, 2016           Manually-operated exercise
                                  Registered: August 28, 2018    equipment
                                  Register Type: Principal
                                  Register
          GOLO                    Registered, August 8, 2017     Int'l Class: 44
          METABOLIC               Int'l Class: 44                (Int'l Class: 44)
          MATRIX                  First Use: April 22, 2013      Health care services for
          RN: 5258942             Filed: June 18, 2016           individuals, namely, weight
          SN: 87076404            Registered: August 8, 2017     loss program services, weight
                                  Register Type: Principal       loss diet planning and
                                  Register                       supervision, weight

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         Mark/Name/        Status/Key Dates           Full Goods/Services
         AN/RN
                                                      management programs, and
                                                      consulting services in the fields
                                                      of diet, weight loss, diet
                                                      planning, lifestyle wellness,
                                                      health and nutrition
         GOLO FUEL         Registered, July 4, 2017   Int'l Class: 44
         INDEX             Int'l Class: 44            (Int'l Class: 44)
         RN: 5235221       First Use: May 2, 2013     Health care services for
         SN: 87077503      Filed: June 20, 2016       individuals, namely, weight
                           Registered: July 4, 2017   loss program services, weight
                           Register Type: Principal   loss diet planning and
                           Register                   supervision, weight
                                                      management programs, and
                                                      consulting services in the fields
                                                      of diet, weight loss, diet
                                                      planning, lifestyle wellness,
                                                      health and nutrition
         GOLO              Registered, January 31,    Int'l Class: 44
         LIFECARDS         2017                       (Int'l Class: 44)
         RN: 5133721       Int'l Class: 44            Health care services for
         SN: 87088659      First Use: June 27, 2016   individuals, namely, weight
                           Filed: June 29, 2016       loss program services, weight
                           Registered: January 31,    loss diet planning and
                           2017                       supervision, weight
                           Register Type: Principal   management programs, and
                           Register                   consulting services in the fields
                                                      of diet, weight loss, diet
                                                      planning, lifestyle wellness,
                                                      health and nutrition


         GOLO RESCUE       Registered, May 30, 2017   Int'l Class: 44
         PLAN              Int'l Class: 44            (Int'l Class: 44)
         RN: 5212233       First Use: June 27, 2016   Health care services for
         SN: 87088674      Filed: June 29, 2016       individuals, namely, weight
                           Registered: May 30, 2017   loss program services, weight
                           Register Type: Principal   loss diet planning and
                           Register                   supervision, weight
                                                      management programs, and
                                                      consulting services in the fields
                                                      of diet, weight loss, diet



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          Mark/Name/              Status/Key Dates                Full Goods/Services
          AN/RN
                                                                  planning, lifestyle wellness,
                                                                  health and nutrition


         190.    According to USPTO records, on or around June 18, 2016, GOLO filed or caused

  to be filed U.S. App. Serial No. 87076392 for the GOLO word mark identifying, inter alia, goods

  in International Classes 25 and 29 under Section 1(b) intent-to-use. A true and correct copy of the

  USPTO application file for U.S. App. Serial No. 87076392 is attached hereto as Exhibit 33.

         191.    According to USPTO records, on or around December 13, 2017, GOLO filed or

  caused to be filed a Statement of Use pursuant to 15 U.S.C. § 1051(d) asserting that the subject

  mark was used in connection with “Footwear; Clothing, namely, shirts, pants, shorts, hoodies,

  jumpsuits, and hats” in International Class 25 since at least as early as September 15, 2016, and in

  connection with “Manually-operated exercise equipment” in International Class 28 since at least

  as early as January 1, 2017. A true and correct copy of the Statement of Use for U.S. App. Serial

  No. 87076392 is attached hereto as Exhibit 34.

         192.    In support of the Statement of Use for U.S. App. Serial No. 87076392, GOLO

  submitted specimens purporting to show the mark “as used on or in connection with” all of the

  goods identified in the application “in commerce.” See Exhibit 35.

         193.     The specimens depict the GOLO mark used on t-shirts. See Exhibit 35. The

  specimens do not depict the GOLO mark used on footwear, pants, shorts, hoodies, jumpsuits, or

  hats. GOLO did not submit any specimens showing use of the GOLO mark in connection with

  footwear, pants, shorts, hoodies, jumpsuits, or hats.

         194.    A broad search of GOLO’s current and archived public-facing webpages, as well

  as webpages accessible to GOLO customers did not reveal any evidence of use by GOLO of the


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  GOLO mark in connection with r footwear, pants, shorts, hoodies, jumpsuits, or hats. Such search

  revealed only T-shirts offered for sale on the “Shop myGOLO” page. “GOLO® for Life” is printed

  on the front of the T-shirts in green and blue letters.

         195.     On information and belief, GOLO is not, and at the time the Statement of Use was

  filed was not, using in commerce the GOLO mark in connection with footwear, pants, shorts,

  hoodies, jumpsuits, or hats.

         196.     A signatory to a declaration under 15 U.S.C. § 1051(d) attests that the applicant or

  the applicant’s related company or licensee is using the mark in commerce or in connection with

  all the goods/services in the application or notice of allowance in order to secure registration in

  connection with all of the goods/services listed in the application.

         197.     According to USPTO records, U.S. App. Serial No. 87076392 was published in the

  Official Gazette on April 18, 2017.

         198.     According to USPTO records, on or around August 28, 2018, a registration

  certificate issued for U.S. App. Serial No. 87076392 was assigned U.S. Reg. No. 5,552,578 (the

  “’578 Reg.”).

         199.     On information and belief, the ‘578 Reg. has been defective from the start because

  it is based on an inaccurate Statement of Use, and therefore, was not and is not entitled to

  registration on void ab initio grounds.

         C.       U.S. Reg. No. 5,258,942 is Invalid as Void Ab Initio

         200.     According to USPTO records, on or about June 18, 2016, GOLO filed or caused to

  be filed U.S. App. Serial No. 87076404 for the “GOLO Metabolic Matrix foods” word mark

  identifying, inter alia, “Health care services for individuals, namely, weight loss program services,

  weight loss diet planning and supervision, weight management programs, and consulting services

  in the fields of diet, weight loss, diet planning, lifestyle wellness, health and nutrition” in
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  International Class 44 under Section 1(a), and identifying a first use date of April 22, 2013. A true

  and correct copy of the USPTO application file for U.S. App. Serial No. 87076404 is attached

  hereto as Exhibit 36.

         201.      According to USPTO records, on or around March 8, 2017, an Examiner’s

  Amendment issued “[i]n accordance with the authorization granted by [GOLO’s representative]

  on March 7, 2017” amending U.S. App. Serial No. 87076404 to replace “GOLO Metabolic Matrix

  foods” with “GOLO METABOLIC MATRIX” and to limit the identification only to “Health care

  services for individuals, namely, weight loss program services, weight loss diet planning and

  supervision, weight management programs, and consulting services in the fields of diet, weight

  loss, diet planning, lifestyle wellness, health and nutrition” in International Class 44. A true and

  correct copy of the Examiner’s Amendment for U.S. App. Serial No. 87076404 is attached hereto

  as Exhibit 37.

         202.      In support of U.S. App. Serial No. 87076404, GOLO submitted a specimen

  purporting to show the mark “as used on or in connection with” all of the goods and services

  identified in the application “in commerce.” See Exhibit 36.

         203.      The specimen does not show a direct association between GOLO METABOLIC

  MATRIX and the identified services. See Exhibit 36. The phrase “GOLO Metabolic Matrix”

  appears only once on a single page in small print without emphasis and without further explanation

  or use of the term such as would permit consumers to associate the mark as a source identifier for

  the services.

         204.      A broad search of current and archived versions of GOLO’s website and its social

  media accounts and the worldwide web found no evidence of the word mark GOLO METABOLIC

  MATRIX being used in connection with International Class 44 services.



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         205.    On information and belief, GOLO is not, and at the time U.S. App. Serial No.

  87076404 was filed was not, using in commerce the purported GOLO METABOLIC MATRIX

  mark in connection with any of the identified services.

         206.    According to USPTO records, U.S. App. Serial No. 87076404 was published in the

  Official Gazette on May 3, 2017.

         207.    According to USPTO records, on or around August 8, 2017, a registration

  certificate issued for U.S. App. Serial No. 87076404 and was assigned U.S. Reg. No. 5,258,942

  (the “’942 Reg.”).

         208.    On information and belief. the ‘942 Reg. has been defective from the start because

  it is based on an inaccurate declaration of use, and therefore, was not and is not entitled to

  registration on void ab initio grounds.

        D.     U.S. Reg. Nos. 5,235,221, 5,133,721, and 5,212,233 Have Been Abandoned
  and Are Invalid

         209.    According to USPTO records, on or around June 20, 2016, GOLO filed or caused

  to be filed U.S. App. Serial No. 87077503 for the GOLO FUEL INDEX word mark identifying

  “Health care services for individuals, namely, weight loss program services, weight loss diet

  planning and supervision, weight management programs, and consulting services in the fields of

  diet, weight loss, diet planning, lifestyle wellness, health and nutrition” in International Class 44

  under Section 1(a), and identifying a first use date of May 2, 2013. A true and correct copy of the

  USPTO application file for U.S. App. Serial No. 87077503 is attached hereto as Exhibit 38.

         210.    According to USPTO records, on or around February 28, 2017, GOLO filed or

  caused to be filed a Response to Office Action with a substitute specimen in support of the U.S.

  App. Serial No. 87077503 purporting to depict use of GOLO FUEL INDEX on or in connection

  with Health care services for individuals, namely, weight loss program services, weight loss diet


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  planning and supervision, weight management programs, and consulting services in the fields of

  diet, weight loss, diet planning, lifestyle wellness, health and nutrition” in International Class 44.

  A true and correct copy of the Response to Office Action is attached hereto as Exhibit 39.

            211.   According to USPTO records, U.S. App. Serial No. 87077503 was published in the

  Official Gazette on March 29, 2017.

            212.   According to USPTO records, on or around July 4, 2017, a registration certificate

  issued for U.S. App. Serial No. 87077503 and was assigned U.S. Reg. No. 5,235,221 (the “’221

  Reg.”).

            213.   On information and belief, GOLO has not continuously and consistently used the

  GOLO FUEL INDEX mark in connection with some or all of the services identified in the ‘221

  Reg.

            214.   A search of GOLO’s current and archived webpages and social media accounts

  revealed evidence of use of GOLO FUEL INDEX on GOLO’s Facebook account on June 21, 2013

  and then again on the GOLO website on December 15, 2015:




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         215.    A thorough search of GOLO’s current and archived websites and social media

  platforms failed to locate any additional uses of the purported mark GOLO FUEL INDEX.

         216.    On information and belief, GOLO ceased using the GOLO FUEL INDEX mark in

  connection with some or all of the services identified in the ‘221 Reg. more than three years ago.

         217.    According to USPTO records, on or around June 29, 2016, GOLO filed or caused

  to be filed U.S. App. Serial No. 87088659 for the GOLO LIFECARDS word mark identifying

  “Health care services for individuals, namely, weight loss program services, weight loss diet

  planning and supervision, weight management programs, and consulting services in the fields of

  diet, weight loss, diet planning, lifestyle wellness, health and nutrition” in International Class 44

  under Section 1(a), and identifying a first use date of June 27, 2016. In support of U.S. App. Serial

  No. 87088659, GOLO submitted a specimen purporting to show use of the mark in connection


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  with the identified services. A true and correct copy of the USPTO application file for U.S. App.

  Serial No. 87088659 is attached hereto as Exhibit 40.

         218.       According to USPTO records, U.S. App. Serial No. 87088659 was published in

  the Official Gazette on October 26, 2016.

         219.   According to USPTO records, on or around January 31, 2017, a registration

  certificate issued for U.S. App. Serial No. 87088659 and was assigned U.S. Reg. No. 5,133,721

  (the “’721 Reg.”).

         220.   On information and belief, GOLO has not continuously and consistently used the

  GOLO LIFECARDS mark in connection with some or all of the services identified in the ‘721

  Reg.

         221.   A search of GOLO’s current and archived webpages and social media accounts

  revealed evidence of use of LIFECARDS on the July 2, 2013 and October 26, 2015 versions of

  GOLO’s website.       In the first version, LIFECARDS were described as “inspirational and

  motivational messages from Dr. Keith Ablow to help you stay committed [to] the program and to

  losing weight”:




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         222.    A thorough search of subsequent versions of GOLO’s website, their social media

  accounts, and the worldwide web yielded no additional evidence of the word mark “GOLO

  LIFECARDS” being used in connection with International Class 44 services.

         223.    On information and belief, GOLO ceased using the GOLO LIFECARDS mark in

  connection with some or all of the services identified in the ‘721 Reg. more than three years ago.

         224.    According to USPTO records, on or around June 29, 2016, GOLO filed or caused

  to be filed U.S. App. Serial No. 87088674 for the GOLO RESCUE PLAN word mark identifying

  “Health care services for individuals, namely, weight loss program services, weight loss diet
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  planning and supervision, weight management programs, and consulting services in the fields of

  diet, weight loss, diet planning, lifestyle wellness, health and nutrition” in International Class 44

  under Section 1(a), and identifying a first use date of June 27, 2016. In support of U.S. App. Serial

  No. 87088674, GOLO submitted a specimen purporting to show use of the mark in connection

  with the identified services. A true and correct copy of the USPTO application file for U.S. App.

  Serial No. 87088674 is attached hereto as Exhibit 41.

            225.   According to USPTO records, U.S. App. Serial No. 87088674 was published in

  the Official Gazette on February 22, 2017.

            226.   According to USPTO records, on or around May 30, 2017, a registration certificate

  issued for U.S. App. Serial No. 87088674 and was assigned U.S. Reg. No. 5,212,233 (the “’233

  Reg.”).

            227.   On information and belief, GOLO has not continuously and consistently used the

  GOLO RESCUE PLAN mark in connection with some or all of the services identified in the ‘233

  Reg.

            228.   A search of GOLO’s current and archived webpages and social media accounts

  revealed evidence of use of GOLO RESCUE PLAN on different versions of GOLO’s website from

  July 8, 2013 to June 24, 2018. The first version identified the GOLO Rescue Plan as a three-part

  weight loss program that included the Rescue Pak™, Metabolic Fuel Matrix™, and the

  Roadmap™:




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         229.   The July 3, 2016 version of GOLO’s website identified the GOLO Rescue Plan as

  a five-part weight loss program that included a myGOLO membership, 30-day supply of Release

  pills, the Metabolic Fuel Matrix, and booklets titled 30 Days to Better Health and Defeating

  Emotional Eating:




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         230.      The mark was also displayed on GOLO’s Facebook account from February 29,

  2016 to September 22, 2018; GOLO’s Twitter account from February 9, 2016 to November 22,

  2018; on GOLO’s Instagram account on November 22, 2018; and GOLO’s Pinterest account on

  July 27, 2017.

         231.      A thorough search of subsequent versions of GOLO’s website, their social media

  accounts, and the worldwide web yielded no additional evidence of the word mark GOLO

  RESCUE PLAN being used in connection with International Class 44 services.

         232.      On information and belief, GOLO ceased using the GOLO RESCUE PLAN mark

  in connection with some or all of the services identified in the ‘233 Reg. more than three years

  ago.




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                                   FIRST COUNTERCLAIM
                      (False Advertising in Violation of 15 U.S.C. § 1125(a))

         233.    Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

         234.    GOLO’s false and misleading advertisements and statements constitute false

  advertising in violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         235.    GOLO have made and continue to make false and misleading representations

  concerning GOLO’s products in advertisements, marketing materials, and/or oral statements,

  throughout the United States, and upon information and belief in Delaware, with the intent to

  mislead and deceive consumers.

         236.    On information and belief, GOLO’s false and/or misleading statements have

  actually deceived or tended to deceive a substantial segment of the relevant consumers for weight

  loss products and/or nutritional supplements.

         237.    On information and belief, GOLO’s false and/or misleading statements have

  influenced the purchasing decisions of consumers for weight loss products and/or nutritional

  supplements.

         238.    GOLO’s false and misleading statements were and are made in interstate

  commerce.

         239.    GOLO’s improper and unlawful activities, as described herein, have been willful

  and deliberate, thereby making this an exceptional case under the Lanham Act. Indeed, GOLO

  knew or reasonably should have known that its advertisements and marketing materials were false

  and/or misleading. Therefore, GOLO’s false advertising of its products was purposeful and

  knowing and merits a finding that exceptional circumstances exist sufficient to support an award

  of attorneys’ fees and treble damages.


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         240.    As a direct and proximate result of the acts of GOLO as alleged herein, Goli

  Nutrition has been damaged and is likely to be damaged in the future.

         241.    As a direct and proximate result of the acts of GOLO as alleged herein, Goli

  Nutrition has suffered and will continue to suffer great damage to its business, goodwill,

  reputation, and profits, while GOLO is profiting at Goli Nutrition’s expense.

         242.    Goli Nutrition has suffered an irreparable injury.

         243.    Goli Nutrition has no adequate remedy at law.

         244.    The balance of hardships favor granting Goli Nutrition injunctive relief.

         245.    The public interest would be served by enjoining GOLO because it would, among

  other reasons, stop false and misleading advertising from continuing.

                                SECOND COUNTERCLAIM
            (Deceptive Trade Practices in Violation of DEL. CODE ANN. TTT. 6 § 2531)

         246.    Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

         247.    GOLO’s advertising and promotional materials, as described herein, contain

  literally false statements regarding the nature, characteristics, benefits, uses or qualities of goods

  in commerce.

         248.    These literally false advertising and promotional statements are material to

  consumer purchasing decisions and have caused and are causing damages to Goli Nutrition.

         249.    GOLO’s false statements and advertising violate the Delaware Deceptive Trade

  Practices Act and the common law of Delaware.

         250.    Unless this Court enjoins GOLO from continuing to make these false claims and

  orders their retraction and/or correction, the false advertising will continue to cause Goli Nutrition




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  to suffer a loss of consumer confidence, sales, profits, and goodwill, which will irreparably harm

  Goli Nutrition.

         251.       GOLO’s false statements are willful, with malicious and deceptive intent, making

  this an exceptional case.

         252.       Goli Nutrition has no adequate remedy at law.

                                     THIRD COUNTERCLAIM
                                  (Common Law Unfair Competition)

         253.       Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

         254.       GOLO’s unlawful acts, as described above, constitute unfair competition under

  Delaware law.

         255.       By making false and misleading statements about its products, GOLO has utilized

  unfair methods of competition and deceptive trade practices.

         256.       Goli Nutrition reasonably expects to build goodwill and business relationships

  based on its reputation and the quality of its products.

         257.       GOLO’s unlawful actions have caused, and will continue to cause, Goli Nutrition

  irreparable harm to its reputation and its ability to build goodwill and business relationships unless

  enjoined.

         258.       GOLO has also profited from their unlawful actions and have been unjustly

  enriched to the detriment of Goli Nutrition. GOLO’s unlawful actions have caused Goli Nutrition

  monetary damage in an amount presently unknown, but to be determined at trial.

                               FOURTH COUNTERCLAIM
      (Declaratory Judgement of Invalidity of the ‘578 Reg. on the Basis of Void Ab Initio)

         259.       Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

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            260.    GOLO has asserted ownership of the GOLO mark in connection with the goods

  identified in the ‘578 Reg. in this action.

            261.    On information and belief, GOLO has not used the GOLO mark in connection

  footwear, pants, shorts, hoodies, jumpsuits, or hats. GOLO did not submit any specimens

  depicting use of the GOLO mark in connection with footwear, pants, shorts, hoodies, jumpsuits,

  or hats. Instead, GOLO submitted specimens showing use in connection with t-shirts only.

            262.    A signatory to a declaration under 15 U.S.C. § 1051(d) attests that the applicant or

  the applicant’s related company or licensee is using the mark in commerce on or in connection

  with all the goods/services in the application or notice of allowance in order to secure registration

  in connection with all the goods/services listed in the application.

            263.    GOLO’s ‘578 Reg. has been defective from the start because it was based on an

  inaccurate declaration of use, and therefore, was not and is not entitled to registration on void ab

  initio grounds.

            264.    Had the USPTO been aware that the GOLO mark was not in bona fide use in

  connection with footwear, pants, shorts, hoodies, jumpsuits, or hats, the USPTO would not have

  permitted registration of the ‘578 Reg. The ‘578 Reg. is therefore invalid on the basis of void ab

  initio.

            265.    Counterclaim Plaintiffs are being damaged by the ‘578 Reg., which is asserted

  against Counterclaim Plaintiffs in this action.

            266.    Counterclaim Plaintiffs are entitled to a declaration that the ‘578 Reg. is invalid as

  void ab initio and request that this Court order cancellation of the ‘578 Reg. under authority of 15

  U.S.C. § 1119.

                                 FIFTH COUNTERCLAIM
      (Declaratory Judgement of Invalidity of the ‘942 Reg. on the Basis of Void Ab Initio)

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         267.       Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

         268.       GOLO has asserted ownership of the GOLO METABOLIC MATRIX mark in

  connection with the services identified in the ‘942 Reg. in this action.

         269.       On information and belief, GOLO has not used the GOLO METABOLIC MATRIX

  mark in connection with “Health care services for individuals, namely, weight loss program

  services, weight loss diet planning and supervision, weight management programs, and consulting

  services in the fields of diet, weight loss, diet planning, lifestyle wellness, health and nutrition.”

         270.       GOLO did not submit a specimen depicting use of the GOLO METABOLIC

  MATRIX mark in connection with any of the foregoing services. The specimen submitted by

  GOLO does not show use of GOLO METABOLIC MATRIX as a source identifier with respect

  to any of the identified services.

         271.       A signatory to a declaration under 15 U.S.C. § 1051(d) attests that the applicant or

  the applicant’s related company or licensee is using the mark in commerce on or in connection

  with all the goods/services in the application or notice of allowance in order to secure registration

  in connection with all the goods/services listed in the application.

         272.       GOLO’s ‘942 Reg. has been defective from the start because it was based on an

  inaccurate declaration of use, and therefore, was not and is not entitled to registration on void ab

  initio grounds.

         273.       Had the USPTO been aware that the GOLO mark was not in bona fide use in

  connection with “Health care services for individuals, namely, weight loss program services,

  weight loss diet planning and supervision, weight management programs, and consulting services




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  in the fields of diet, weight loss, diet planning, lifestyle wellness, health and nutrition,” the USPTO

  would not have permitted registration of the ‘942 Reg.

          274.    Goli Nutrition is being damaged by the ‘942 Reg., which is asserted against Goli

  Nutrition in this action.

          275.    Goli Nutrition is entitled to a declaration that the ‘5942 Reg. is invalid as void ab

  initio and request that this Court order cancellation of the ‘942 Reg. under authority of 15 U.S.C.

  § 1119.

                                SIXTH COUNTERCLAIM
   (Declaratory Judgement of Invalidity of the ‘221 Reg., the ‘721 Reg., and the ‘233 Reg. on
                                the Basis of Abandonment)

          276.    Goli Nutrition realleges and incorporates the previous paragraphs of these

  counterclaims as though fully set forth herein.

          277.    GOLO has asserted ownership of (1) the GOLO FUEL INDEX mark in connection

  with the services identified in the ‘221 Reg., (2) the GOLO LIFECARDS mark in connection with

  the services identified in the ‘721 Reg., and (3) the GOLO RESCUE PLAN mark in connection

  with the services identified in the ‘233 Reg. in this action.

          278.    On information and belief, GOLO has not continuously and consistently used the

  GOLO FUEL INDEX mark in connection with some or all of the services identified in the ‘221

  Reg.

          279.    On information and belief, GOLO ceased making any bona fide use of the GOLO

  FUEL INDEX mark with an intent not to resume use in commerce in the U.S. in connection with

  some or all of the services identified in the ‘221 Reg. more than three years ago.

          280.    On information and belief, GOLO has not continuously and consistently used the

  GOLO LIFECARDS mark in connection with some or all of the services identified in the ‘721

  Reg.
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         281.    On information and belief, GOLO ceased making any bona fide use of the GOLO

  LIFECARDS mark with an intent not to resume use in commerce in the U.S. in connection with

  some or all of the services identified in the ‘721 Reg. more than three years ago.

         282.    On information and belief, GOLO has not continuously and consistently used the

  GOLO RESCUE PLAN mark in connection with some or all of the services identified in the ‘233

  Reg.

         283.    On information and belief, GOLO ceased making any bona fide use of the GOLO

  RESCUE PLAN mark with an intent not to resume use in commerce in the U.S. in connection with

  some or all of the services identified in the ‘233 Reg. more than three years ago.

         284.    Accordingly, the GOLO FUEL INDEX mark, the GOLO LIFECARDS mark, and

  the GOLO RESCUE PLAN mark have been abandoned through non-use of more than three years

  with an intent not to resume use.

         285.    Goli Nutrition is being damaged by the ‘221 Reg., the ‘721 Reg., and the ‘233 Reg.,

  which are asserted against Goli Nutrition in this action.

         286.    Goli Nutrition is entitled to a declaration that the alleged GOLO FUEL INDEX

  mark, the GOLO LIFECARDS mark, and the GOLO RESCUE PLAN mark have been abandoned

  and are invalid.

         287.    Goli Nutrition requests that this Court order cancellation of the ‘221 Reg., the ‘721

  Reg., and the ‘233 Reg. under authority of 15 U.S.C. § 1119.

                                      PRAYER FOR RELIEF

  Wherefore, Goli Nutrition prays for judgment as follows:

         1.      Goli Nutrition denies each and every allegation contained in GOLO’s prayer for

  relief, and specifically denies that GOLO has been injured in any way whatsoever, and specifically



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  denies that GOLO is entitled to relief of any kind whatsoever. Goli Nutrition requests this Court

  enter judgment in favor of Goli Nutrition and against GOLO.

         2.        Goli Nutrition requests that this Court dismiss the claims in GOLO’s Complaint

  with prejudice in their entirety and grant such other and further relief as this Court deems is just

  and equitable.

         3.        Goli Nutrition requests that this Court enjoin and restrain GOLO, its officers,

  directors, advisory board members, clinical advisory board members, scientific advisory board

  members, agents, servants, employees, attorneys, and all others in active concert or participation

  with GOLO, during the pendency of this action and thereafter permanently from:

                   A.       Engaging in any false or misleading advertising in any manner

                            whatsoever;

                   B.       Engaging in any deceptive trade practice in any manner whatsoever;

                   C.       Unfairly competing with Goli Nutrition in any manner whatsoever; and

                   D.       Disparaging Goli Nutrition’s products in any manner whatsoever.

         4.        Goli Nutrition requests that this Court require Counter-Defendants to deliver up, or

  cause to be delivered up, for destruction all advertisements, marketing material, and all other

  materials in the possession or control of Counter-Defendants that contain false or misleading

  statements of fact about GOLO’s products.

         5.        Goli Nutrition requests that this Court require GOLO to publish appropriate

  corrective advertising.

         6.        Goli Nutrition requests that this Court require GOLO to account for and pay over

  to Goli Nutrition the amount of Goli Nutrition’s damages pursuant to 15 U.S.C. § 1117 and

  Delaware law.



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         7.      Goli Nutrition requests that this Court require GOLO to account for and pay over

  to Goli Nutrition the amount of GOLO’s profits pursuant to 15 U.S.C. § 1117 and Delaware law.

         8.      Goli Nutrition requests that this Court award it treble damages in addition to any

  damages amounts that are determined at trial.

         9.      Goli Nutrition requests that this Court enter a judgement declaring that GOLO’s

  ‘578 Reg. and ‘942 Reg. are void ab initio and that marks represented by GOLO’s ‘221 Reg., ‘721

  Reg., and ‘233 Reg. have been abandoned.

         10.     Goli Nutrition requests that this Court enter an order instructing the USPTO to

  cancel the ‘578 Reg., the ‘942 Reg., the ‘221 Reg., the ‘721 Reg., and the ‘233 Reg.

         11.     Goli Nutrition requests that this Court award it its costs of suit and reasonable

  attorneys’ fees incurred in this action.

         12.     Goli Nutrition requests that this Court enter such other relief as this Court deems

  just and proper.

                                             JURY DEMAND

         Goli Nutrition hereby requests a trial by jury on all of its counterclaims.




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                                          Respectfully submitted,

   Dated: January 31, 2022                   DLA PIPER LLP (US)

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